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Fill in this information to identify your case:

United States Bankruptcy Court for the:

     DISTRICT OF DELAWARE

Case number (if known)                                                       Chapter 15
                                                                                                                                 Check if this an amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                 12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).


1.    Debtor's name                Rifco National Auto Finance Corporation

2.    Debtor's unique identifier     For non-individual debtors:

                                          Federal Employer Identification Number

                                          Other 879751311. Describe identifier Canadian Federal Business Number.
                                     For individual debtors

                                          Social Security Number:

                                          Individual Taxpayer Identification Number (ITIN):

                                          Other     . Describe identifier     .



3.    Name of foreign
      representative(s)             FTI Consulting Canada Inc.

4.    Foreign proceeding in        In The Matter of the Companies’ Creditors Arrangement Act, R.S.C. 1985, C. C-36, as Amended and
      which appointment of the     in the Matter of a Plan of Compromise or Arrangement of Chesswood Group Limited, Case Funding
      foreign representative(s)    Inc., Chesswood Holdings Ltd., Pawnee Leasing Corporation, Chesswood US Acquisitionco Ltd.,
      occurred                     Lease-Win Limited, Windset Capital Corporation, Tandem Finance, Inc., Chesswood Capital
                                   Management Inc., Chesswood Capital Management USA Inc., Rifco National Auto Finance
                                   Corporation, Rifco Inc., Waypoint Investment Partners Inc. and 1000390232 Ontario Inc.

5.    Nature of the foreign          Check one:
      proceeding
                                          Foreign main proceeding

                                          Foreign nonmain proceeding

                                          Foreign main proceeding, or in the alternative foreign nonmain proceeding



6.    Evidence of the foreign            A certified copy, translated into English, of the decision commencing the foreign proceeding and appointing the foreign
      proceeding                     representative is attached.

                                        A certificate, translated into English, from the foreign court, affirming the existence of the foreign proceeding and of the
                                     appointment of the foreign representative, is attached.

                                         Other evidence of the existence of the foreign proceeding and of the appointment of the foreign representative is
                                     described below, and relevant documentation, translated into English, is attached.
                                       Due to the timing of the first day hearing, the Debtors have provided a copy of the initial order as entered by
                                     the Canadian Court with the Petitions and will file a certified copy upon receipt.


7.    Is this the only foreign          No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the debtor is
      proceeding with respect        pending).
      to the debtor known to
      the foreign                         Yes
      representative(s)?




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8.   Others entitled to notice      Attach a list containing the names and addresses of:
                                    (i)     all persons or bodies authorized to administer foreign proceedings of the debtor,
                                    (ii) all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this petition, and
                                    (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.



9.   Addresses                   Country where the debtor has the center of its main                       Debtor's registered office:
                                 interests:

                                 Canada                                                                    4000-421 7 Ave SW, Calgary, Alberta T2P4K9
                                                                                                           P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code


                                                                                                           Canada
                                                                                                           Country


                                 Individual debtor's habitual residence:                                   Address of foreign representative(s):

                                                                                                           Toronto-Dominion Centre, TD South Tower, 79
                                                                                                           Wellington St W Suite 2010, Toronto, ON M5K 1G8
                                 P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code   P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code


                                                                                                           Canada
                                 Country                                                                   Country




10. Debtor's website (URL)       https://www.chesswoodgroup.com/


11. Type of debtor               Check one:

                                          Non-individual (check one):

                                                   Corporation. Attach a corporate ownership statement containing the information described in Fed. R. Bankr. P.
                                               7007.1.

                                                       Partnership

                                                   Other.
                                               Specify:

                                          Individual




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12. Why is the venue proper     Check one:
    in this district?
                                      Debtor's principal place of business or principal assets in the United States are in this district.
                                      Debtor does not have a place of business or assets in the United States, but the following action or proceeding in a
                                      federal or state court is pending against the debtor in this district.


                                      If neither box is checked, venue is consistent with the interests of justice and the convenience of the parties, having
                                      regard to the relief sought by the foreign representative, because:
                                      The Debtor is an affiliate of Chesswood US Acquisitionco Ltd., which is incorporated in Delaware. The
                                      Debtors respectfully submit that the administration of the Debtors’ estates will be most efficiently
                                      administered by the Delaware Court rather than through multiple proceedings in different venues
                                      governing the disposition of the Debtors’ assets.



13. Signature of foreign        I request relief in accordance with the chapter 15 of title 11, United States Code.
    representative(s)
                                I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the relief sought in this petition, and
                                I am authorized to file this petition.

                                I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                I declare under penalty of perjury that the foregoing is true and correct,


                            X /s/ Jeffrey Rosenberg                                                      Jeffrey Rosenberg
                                Signature of foreign representative                                      Printed name

                                Executed on      10/30/2024
                                                 MM / DD / YYYY


                            X
                                Signature of foreign representative                                      Printed name

                                Executed on
                                                 MM / DD / YYYY



14. Signature of attorney   X /s/ Kenneth J. Enos                                                         Date 10/30/2024
                                Signature of Attorney for foreign representative                               MM / DD / YYYY

                                Kenneth J. Enos
                                Printed name

                                Young Conaway Stargatt & Taylor, LLP
                                Firm name

                                1000 N. King Street
                                Wilmington, DE 19801
                                Number, Street, City, State & ZIP Code


                                302-571-6600                                                       kenos@ycst.com
                                Contact phone                                                      Email address

                                 4544 DE
                                Bar number and State




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                      Item 6

Decision Commencing Foreign Proceeding and
   Appointing the Foreign Representative
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                                                             Court File No.: CV-24-00730212-00CL

                                        ONTARIO
                               SUPERIOR COURT OF JUSTICE
                                   COMMERCIAL LIST

 THE HONOURABLE                                    )                        TUESDAY, THE 29TH
                                                   )
 JUSTICE KIMMEL                                                         DAY OF OCTOBER, 2024
                                                   )

                     IN THE MATTER OF THE COMPANIES’ CREDITORS
                       ARRANGEMENT ACT, R.S.C. 1985, AS AMENDED

    AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
 CHESSWOOD GROUP LIMITED, CASE FUNDING INC., CHESSWOOD HOLDINGS
       LTD., CHESSWOOD US ACQUISITIONCO LTD., PAWNEE LEASING
  CORPORATION, LEASE-WIN LIMITED, WINDSET CAPITAL CORPORATION,
     TANDEM FINANCE, INC., CHESSWOOD CAPITAL MANAGEMENT INC.,
   CHESSWOOD CAPITAL MANAGEMENT USA INC., RIFCO NATIONAL AUTO
  FINANCE CORPORATION, RIFCO INC., WAYPOINT INVESTMENT PARTNERS
                    INC. and 1000390232 ONTARIO INC.



                                         INITIAL ORDER


       THIS APPLICATION, made by Royal Bank of Canada, in capacity as administrative
and collateral agent (the “Pre-Filing Agent” or the “Applicant”) to the lenders (the “Pre-Filing
Lenders”) under a second amended and restated credit agreement dated as of January 14, 2022, as
amended, pursuant to the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36, as
amended (the “CCAA”) was heard this day at 330 University Avenue, Toronto, Ontario.

       ON READING the affidavit of Wenwei (Wendy) Chen sworn October 28, 2024 and the
Exhibits thereto (the “Chen Affidavit”) and the pre-filing report of FTI Consulting Canada Inc.
(“FTI”), in its capacity as proposed monitor of the CCAA Parties, dated October 29, 2024, and
on on hearing the submissions of counsel for the Pre-Filing Agent, counsel to FTI, and such
other counsel present, and on reading the consent of FTI to act as the monitor (in such capacity,
the “Monitor”) and upon being advised that the CCAA Parties do not oppose the relief sought,
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SERVICE

1.     THIS COURT ORDERS that the time for service of the Notice of Application and the
Application Record is hereby abridged and validated so that this Application is properly
returnable today and hereby dispenses with further service thereof.

DEFINITIONS

2.     THIS COURT ORDERS that unless otherwise indicated or defined herein, capitalized
terms have the meanings given to them in the Chen Affidavit.

APPLICATION

3.     THIS COURT ORDERS AND DECLARES that the CCAA Parties are companies to
which the CCAA applies.

POSSESSION OF PROPERTY AND OPERATIONS

4.     THIS COURT ORDERS that, subject to the rights and powers granted in favour of the
Monitor under this Order, the CCAA Parties shall remain in possession and control of their
respective current and future assets, undertakings and properties of every nature and kind
whatsoever, and wherever situate including all proceeds thereof (the “Property”). Subject to
further Order of this Court, the CCAA Parties shall continue to carry on business in a manner
consistent with the preservation of their business (the “Business”) and Property. The CCAA
Parties shall each be authorized and empowered, subject to the consent of the Monitor and the
terms of the DIP Term Sheet (as defined below), to continue to retain and employ the employees,
independent contractors, advisors, consultants, agents, experts, accountants, counsel and such
other persons (collectively “Assistants”) currently retained or employed by them, with liberty to
retain such further Assistants as they deem reasonably necessary or desirable in the ordinary
course of business or for the carrying out of the terms of this Order.

5.     THIS COURT ORDERS that the CCAA Parties shall be entitled to continue to utilize
the central cash management system currently in place as described in the Chen Affidavit or
replace it with another substantially similar central cash management system with the consent of
the Monitor (in either case, the “Cash Management System”), and that any present or future
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bank providing the Cash Management System shall not be under any obligation whatsoever to
inquire into the propriety, validity or legality of any transfer, payment, collection or other action
taken under the Cash Management System, or as to the use or application by the CCAA Parties
of funds transferred, paid, collected or otherwise dealt with in the Cash Management System,
shall be entitled to provide the Cash Management System without any liability in respect thereof
to any Person (as defined below) other than the CCAA Parties, pursuant to the terms of the
documentation applicable to the Cash Management System, and shall be, in its capacity as
provider of the Cash Management System, an unaffected creditor under the Plan with regard to
any claims or expenses it may suffer or incur in connection with the provision of the Cash
Management System.

6.         THIS COURT ORDERS that the CCAA Parties shall, with the consent of the Monitor,
be entitled but not required to pay the following expenses whether incurred prior to, on, or after
the date of this Order, to the extent that such expenses are incurred and payable by the CCAA
Parties and subject to the terms of the DIP Term Sheet:

     (a)      all outstanding and future wages, salaries, employee benefits (including, without
              limitation, employee medical, dental, registered retirement savings plan contributions
              and similar benefit plans or arrangements), vacation pay and expenses, in each case
              incurred in the ordinary course of business and consistent with existing compensation
              policies and arrangements, and other payroll and benefits processing and servicing
              expenses;

     (b)      the fees and disbursements of any Assistants retained or employed by the CCAA
              Parties or the Pre-Filing Agent, Pre-Filing Lenders, DIP Agent or DIP Lenders (as
              defined in the DIP financing principal terms sheet dated October 29, 2024, the “DIP
              Term Sheet”) in respect of these proceedings, at their standard rates and charges; and

     (c)      amounts owing for goods or services supplied to the CCAA Parties prior to the date
              of this Order by third party suppliers or service providers not exceeding
              US$1,000,000 in aggregate, if in the opinion of the Monitor such supplier or service
              provider is critical to the Business and ongoing operations of the CCAA Parties and
              the Property.
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7.         THIS COURT ORDERS that, except as otherwise provided to the contrary herein, and
subject to the terms of the DIP Term Sheet, the CCAA Parties shall, with the consent of the
Monitor, be entitled but not required to pay all reasonable expenses incurred by the CCAA
Parties in carrying on the Business in the ordinary course after this Order, and in carrying out the
provisions of this Order or any other Order of the Court, which expenses shall include, without
limitation:

     (a)      all expenses and capital expenditures reasonably necessary for the preservation of the
              Property or the Business including, without limitation, payments on account of
              insurance (including directors and officers insurance), maintenance and security
              services; and

     (b)      payment for goods or services actually supplied to the CCAA Parties following the
              date of this Order.

8.         THIS COURT ORDERS that the CCAA Parties are authorized to remit, in accordance
with legal requirements, or pay:

     (a)      any statutory deemed trust amounts in favour of the Crown in right of Canada or of
              any Province thereof or any other taxation authority which are required to be
              deducted from employees’ wages, including, without limitation, amounts in respect of
              (i) employment insurance, (ii) Canada Pension Plan, (iii) Quebec Pension Plan, and
              (iv) income taxes;

     (b)      all goods and services taxes, harmonized sales taxes and other applicable sales taxes
              (collectively, “Sales Taxes”) required to be remitted by the CCAA Parties in
              connection with the sale of goods and services by the CCAA Parties, but only where
              such Sales Taxes are accrued or collected after the date of this Order, or where such
              Sales Taxes were accrued or collected prior to the date of this Order but not required
              to be remitted until on or after the date of this Order, and

     (c)      any amount payable to the Crown in right of Canada or of any Province thereof or
              any political subdivision thereof or any other taxation authority in respect of
              municipal realty, municipal business, workers’ compensation or other taxes,
              assessments or levies of any nature or kind which are entitled at law to be paid in
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           priority to claims of secured creditors and which are attributable to or in respect of the
           carrying on of the Business by the CCAA Parties.

9.     THIS COURT ORDERS that until a real property lease, including a sublease and
related documentation, to which any CCAA Party is a party (each a “Lease”), is disclaimed in
accordance with the CCAA or otherwise consensually terminated, the applicable CCAA Party
shall pay, with the consent of the Monitor, without duplication, all amounts constituting rent or
payable as rent under such Lease (including, for greater certainty, common area maintenance
charges, utilities and realty taxes and any other amounts payable to the applicable landlord (the
“Landlord”) under such Lease, but for greater certainty, excluding accelerated rent or penalties,
fees or other charges arising as a result of the insolvency of the CCAA Parties or the making of
this Order) or as otherwise may be negotiated between the applicable CCAA Party and the
Landlord from time to time (“Rent”), for the period commencing from and including the date of
this Order, twice-monthly in equal payments on the first and fifteenth day of each month, in
advance (but not in arrears). On the date of the first of such payments, any Rent relating to the
period commencing from and including the date of this Order shall also be paid.

10.    THIS COURT ORDERS that, except as specifically permitted herein, the CCAA
Parties and the Monitor, for and on the behalf of the CCAA Parties, are hereby directed, until
further Order of this Court: (a) to make no payments of principal, interest thereon or otherwise
on account of amounts owing by any of the CCAA Parties to any of their creditors as of this date,
except to the Pre-Filing Agent and Pre-Filing Lenders as provided for in this Order or the DIP
Term Sheet or any Definitive Documents (each as defined below); (b) to grant no security
interests, trust, liens, charges or encumbrances upon or in respect of any of the Property; and (c)
to not grant credit or incur liabilities except in the ordinary course of the Business or pursuant to
this Order or any other Order of the Court.

RESTRUCTURING

11.    THIS COURT ORDERS that the Monitor, in consultation with the DIP Agent shall,
subject to such requirements as are imposed by the CCAA and such covenants as may be
contained in the Definitive Documents (as defined below), have the right, for and on behalf of
and in the name of the CCAA Parties, to:
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      (a)      permanently or temporarily cease, downsize or shut down any of the CCAA Parties’
               business or operations, and to dispose of redundant or non-material assets not
               exceeding US$1,000,000 in any one transaction or US$2,000,000 in the aggregate.

      (b)      terminate the employment of such of its employees or temporarily lay off such of its
               employees as the Monitor, for and on behalf of and in the name of the applicable
               CCAA Parties, deems appropriate;

      (c)      disclaim, in whole or in part, with the prior consent of the DIP Agent or further Order
               of the Court, any of the arrangements or agreements of any nature whatsoever and
               with whomsoever, whether oral or written, of the CCAA Parties, as the Monitor, for
               and on behalf of and in the name of the CCAA Parties, deems appropriate, in
               accordance with section 32 of the CCAA; and

      (d)      pursue all avenues of refinancing of its Business or Property, in whole or part, subject
               to prior approval of this Court being obtained before any material refinancing,

all of the foregoing to permit the CCAA Parties to proceed with an orderly restructuring of the
Business (the “Restructuring”).

12.         THIS COURT ORDERS that each CCAA Party shall provide each of the relevant
Landlords with notice of the CCAA Parties’ intention to remove any fixtures from any leased
premises at least seven (7) days prior to the date of the intended removal. The relevant Landlord
shall be entitled to have a representative present in the leased premises to observe such removal
and, if the landlord disputes a CCAA Party’s entitlement to remove any such fixture under the
provisions of the applicable Lease, such fixture shall remain on the premises and shall be dealt
with as agreed between any applicable secured creditors, such Landlord and the applicable
CCAA Party, or by further Order of this Court upon application by the Monitor on at least two
(2) days notice to such Landlord and any such secured creditors. If a CCAA Party disclaims the
Lease governing such leased premises in accordance with Section 32 of the CCAA, it shall not
be required to pay Rent under such Lease pending resolution of any such dispute (other than
Rent payable for the notice period provided for in Section 32(5) of the CCAA), and the
disclaimer of the Lease shall be without prejudice to such CCAA Party’s claim to the fixtures in
dispute.
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13.    THIS COURT ORDERS that if a notice of disclaimer is delivered pursuant to Section
32 of the CCAA, then (a) during the notice period prior to the effective time of the disclaimer,
the Landlord may show the affected leased premises to prospective tenants during normal
business hours, on giving the CCAA Parties and the Monitor 24 hours’ prior written notice, and
(b) at the effective time of the disclaimer, the relevant landlord shall be entitled to take
possession of any such leased premises without waiver of or prejudice to any claims or rights
such landlord may have against the CCAA Parties in respect of such lease or leased premises,
provided that nothing herein shall relieve such landlord of its obligation to mitigate any damages
claimed in connection therewith.

NO PROCEEDINGS AGAINST THE CCAA PARTIES OR THE PROPERTY

14.    THIS COURT ORDERS that until and including November 8, 2024, or such later date
as this Court may order (the “Stay Period”), no proceeding or enforcement process in any court
or tribunal (each, a “Proceeding”) shall be commenced or continued against or in respect of the
CCAA Parties or the Monitor (or their respective employees, agents and representatives acting in
such capacity), or affecting the Business or the Property, except with the prior written consent of
the Monitor, or with leave of this Court, and any and all Proceedings currently under way against
or in respect of the CCAA Parties or affecting the Business or the Property are hereby stayed and
suspended pending further Order of this Court.

15.    THIS COURT ORDERS that, to the extent any prescription, time or limitation relating
to any Proceeding against or in respect of any CCAA Party that is stayed pursuant to this Order
may expire, the term of such prescription, time or limitation period shall hereby be deemed to be
extended by a period equal to the Stay Period.

NO EXERCISE OF RIGHTS OR REMEDIES

16.    THIS COURT ORDERS that during the Stay Period, all rights and remedies of any
individual, firm, corporation, governmental body or agency, or any other entities (all of the
foregoing, collectively being “Persons” and each being a “Person”) against or in respect of the
CCAA Parties or the Monitor (or their respective employees, agents and representatives acting in
such capacity), or affecting the Business or the Property, are hereby stayed and suspended except
with the written consent of the Monitor, or leave of this Court, provided that nothing in this
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Order shall (i) empower the CCAA Parties to carry on any business which the CCAA Parties are
not lawfully entitled to carry on, (ii) affect such investigations, actions, suits or proceedings by a
regulatory body as are permitted by Section 11.1 of the CCAA, (iii) prevent the filing of any
registration to preserve or perfect a security interest, or (iv) prevent the registration of a claim for
lien.

NO INTERFERENCE WITH RIGHTS

17.     THIS COURT ORDERS that during the Stay Period, no Person shall discontinue, fail to
honour, alter, interfere with, repudiate, terminate or cease to perform any right, renewal right,
contract, agreement, lease, sublease, licence or permit in favour of or held by the CCAA Parties,
except with the prior written consent of the Monitor, or leave of this Court. Without limiting the
foregoing, no right, option, remedy, and/or exemption in favour of the relevant CCAA Parties
shall be or shall be deemed to be negated, suspended, waived and/or terminated as a result of the
insolvency of the CCAA Parties, the commencement of the within proceedings, or any related
recognition proceedings, or this Order.

18.     THIS COURT ORDERS that, no Person shall be entitled to set off any amounts that: (i)
are or may become due to the CCAA Parties in respect of obligations arising prior to the date
hereof with any amounts that are or may become due from the CCAA Parties in respect of
obligations arising on or after the date of this Order; or (b) are or may become due from the
CCAA Parties in respect of obligations arising prior to the date hereof with any amounts that are
or maybe become due to the CCAA Parties in respect of obligations arising on or after the date
of this Order, in each case without the consent of the Monitor, or leave of this Court, provided
that nothing in this Order shall prejudice any arguments any Person may make in seeking leave
of the Court or following the granting of such leave.

CONTINUATION OF SERVICES

19.     THIS COURT ORDERS that during the Stay Period, all Persons having oral or written
agreements with the CCAA Parties or statutory or regulatory mandates for the supply of goods,
intellectual property, and/or services, including, without limitation, all computer software,
communication and other data services, centralized banking services, cash management services,
payroll and benefit services, insurance, transportation services, utility or other services to the
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Business or the CCAA Parties, are hereby restrained until further Order of this Court from
discontinuing, altering, interfering with or terminating the supply of such goods or services as
may be required by the CCAA Parties, and that the CCAA Parties shall be entitled to the
continued use of their current premises, telephone numbers, facsimile numbers, internet
addresses and domain names, provided in each case that the normal prices or charges for all such
goods or services received after the date of this Order are paid by the CCAA Parties in
accordance with normal payment practices of the CCAA Parties or such other practices as may
be agreed upon by the supplier or service provider and the applicable CCAA Parties and the
Monitor, or as may be ordered by this Court.

NON-DEROGATION OF RIGHTS

20.    THIS COURT ORDERS that, notwithstanding anything else in this Order, no Person
shall be prohibited from requiring immediate payment for goods, services, use of leased or
licensed property or other valuable consideration, in each case, provided on or after the date of
this Order, nor shall any Person be under any obligation on or after the date of this Order to
advance or re-advance any monies or otherwise extend any credit to the CCAA Parties. Nothing
in this Order shall derogate from the rights conferred and obligations imposed by the CCAA.

PROCEEDINGS AGAINST DIRECTORS AND OFFICERS

21.    THIS COURT ORDERS that during the Stay Period, and except as permitted by
subsection 11.03(2) of the CCAA, no Proceeding may be commenced or continued against any
of the former, current or future directors or officers of the CCAA Parties with respect to any
claim against the directors or officers that arose before the date hereof and that relates to any
obligations of the CCAA Parties whereby the directors or officers are alleged under any law to
be liable in their capacity as directors or officers for the payment or performance of such
obligations, until a compromise or arrangement in respect of the CCAA Parties, if one is filed, is
sanctioned by this Court or is refused by the creditors of the CCAA Parties or this Court.

SECURITIES FILINGS

22.    THIS COURT ORDERS that the decision by the CCAA Parties to incur no further
expenses for the duration of the Stay Period in relation to any filings (including financial
statements), disclosures, core or non-core documents, and press releases (collectively, the
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“Securities Filings”) that may be required by any federal, provincial or other law respecting
securities or capital markets in Canada, or by the rules and regulations of a stock exchange,
including, without limitation, the Securities Act (Ontario), R.S.O., c. S.5 and comparable statutes
enacted by other provinces of Canada, the TSX Company Manual and other rules, regulations
and policies of the Toronto Stock Exchange and (collectively, the “Securities Provisions”), is
hereby authorized, provided that nothing in this paragraph shall prohibit any securities regulator
or stock exchange from taking any action or exercising any discretion that it may have of a
nature described in Section 11.1(2) of the CCAA as a consequence of the CCAA Parties failing
to make Securities Filings required by the Securities Provisions.

23.    THIS COURT ORDERS that none of the directors, officers, employees, or other
representatives of the CCAA Parties nor the Monitor (or its employees, agents and
representatives acting in such capacity) shall have any personal liability for any failure by the
CCAA Parties to make any Securities Filings required by the Securities Provisions during the
Stay Period, provided that nothing in this paragraph shall prohibit any securities regulator or
stock exchange from taking any action or exercising any discretion that it may have against the
directors, officers, employees and other representatives of the CCAA Parties of a nature
described in section 11.1(2) of the CCAA as a consequence of such failure by the CCAA Parties.
For greater certainty, nothing in this Order is intended to or shall encroach on the jurisdiction of
any securities regulatory authorities (the “Regulators”) in the matter of regulating the conduct of
market participants and to issue or maintain cease trader orders if and when required pursuant to
applicable securities law. Further, nothing in this Order shall constitute or be construed as an
admission by the Regulators that the Court has jurisdiction over matters that are within the
exclusive jurisdiction of the Regulators under the Securities Provisions.

APPOINTMENT OF MONITOR

24.    THIS COURT ORDERS that FTI is hereby appointed pursuant to the CCAA as the
Monitor, an officer of this Court, to monitor the business and financial affairs of the CCAA
Parties with the powers and obligations set out in the CCAA or set forth herein and that the
CCAA Parties and their shareholders, partners, members, officers, directors, and Assistants shall
advise the Monitor of all material steps taken by the CCAA Parties pursuant to this Order, and
shall co-operate fully with the Monitor in the exercise of its powers and discharge of its
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obligations and provide the Monitor with the assistance that is necessary to enable the Monitor to
adequately carry out the Monitor’s functions.

25.         THIS COURT ORDERS that the Monitor, in addition to its prescribed rights and
obligations under the CCAA, is hereby directed and empowered to:

      (a)      monitor the CCAA Parties’ receipts and disbursements;

      (b)      report to this Court at such times and intervals as the Monitor may deem appropriate
               with respect to matters relating to the Property, the Business, and such other matters
               as may be relevant to the proceedings herein;

      (c)      provide the DIP Agent and its counsel with such financial and other information as
               agreed to with the DIP Agent, which may be used in these proceedings, including
               reporting on a basis to be agreed with the DIP Agent;

      (d)      assist the CCAA Parties in their preparation of the CCAA Parties’ cash flow
               statements and reporting required by the DIP Agent, which information shall be
               reviewed with the Monitor and delivered to the DIP Agent and its counsel on a
               periodic basis, or as otherwise agreed to by the DIP Agent;

      (e)      have full and complete access to the Property, including the premises, books, records,
               data, including data in electronic form, and other financial documents of the CCAA
               Parties, to the extent that is necessary to adequately assess the CCAA Parties’
               business and financial affairs or to perform its duties arising under this Order;

      (f)      be at liberty to engage independent legal counsel, advisors, or such other persons, or
               utilize the services of employees of its affiliates, as the Monitor deems necessary or
               advisable respecting the exercise of its powers and performance of its obligations
               under this Order;

      (g)      act as representative (the “Foreign Representative”) in respect of the within
               proceedings for the purposes of having these proceedings recognized in a jurisdiction
               outside of Canada, including acting as a Foreign Representative of the CCAA Parties
               to apply to the United States Bankruptcy Court for relief pursuant to chapter 15 of the
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               United States Bankruptcy Code, 11 U.S.C.§§ 101-1532, as amended (the
               “Bankruptcy Code”); and

      (h)      perform such other duties as are required by this Order or by this Court from time to
               time.

26.         THIS COURT ORDERS that in addition to the powers outlined in paragraphs 24 and 25
and subject to further Orders of the Court, the Monitor is hereby authorized and empowered, but
not required, for and on behalf of and in the name of the CCAA Parties and their respective
boards of directors (and not in its personal capacity), as the Monitor considers necessary or
desirable, in consultation with the DIP Agent, to:

      (a)      conduct and control the financial affairs and operations of the CCAA Parties and
               carry on business of any of the CCAA Parties, including, without limitation:

                   (i)    controlling the CCAA Parties’ receipts and disbursements;

                  (ii)    executing banking and other transactions and executing any documents or
                          taking any other action that is necessary or appropriate for the purpose of
                          the exercise of this power;

                  (iii)   executing such documents as may be necessary in connection with any
                          proceedings before this Court or pursuant to any Order of this Court;

                  (iv)    taking any action or steps that any of the CCAA Parties can take pursuant
                          to the CCAA, this Order or further Order of this Court, including making
                          distributions or payments;

                   (v)    negotiating and entering into agreements with respect to the Business or the
                          Property;

                  (vi)    applying to the Court for any orders which may be necessary or appropriate
                          in order to convey the Property of any CCAA Party to a purchaser or
                          purchasers thereof;
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        (vii)    exercising any shareholder, partner, member or other rights and privileges
                 available to any of the CCAA Parties for and on behalf and in the name of
                 any of them;

       (viii)    exercise any powers which may be properly exercised by any board of
                 directors of the CCAA Parties;

         (ix)    settling, extending or compromising any indebtedness owing to or by the
                 CCAA Parties;

          (x)    initiating, prosecuting and continuing the prosecution of any and all
                 proceedings and defending all proceedings now pending or hereafter
                 instituted with respect to the CCAA Parties, the Business, the Property or
                 the Monitor and to settle or compromise any such proceeding;

         (xi)    exercising any rights of the CCAA Parties;

        (xii)    applying for any permits, licences, approvals or permissions as may be
                 required by any governmental authority and any renewals thereof for and
                 on behalf of and in the name of the CCAA Parties;

       (xiii)    taking any and all corporate governance actions for the CCAA Parties;

       (xiv)     providing instruction and direction to the Assistants of the CCAA Parties;

(b)   preserve, protect and exercise control over the Business or Property, or any parts
      thereof, including, without limitation, to:

          (i)    receive, collect and exercise control over all proceeds of sale of any of the
                 Property;

         (ii)    exercise all remedies of the CCAA Parties in collecting monies owed or
                 hereafter owing to the CCAA Parties and to enforce any security held by
                 the CCAA Parties;

         (iii)   execute, assign, issue and endorse documents of whatever nature in respect
                 of any of the Property for any purpose pursuant to this Order;
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      (c)      conduct investigations from time to time, including, without limitation, examining
               under oath any Person reasonably thought to have knowledge relating to any of the
               CCAA Parties, the Business or the Property and compelling any such Person to
               produce any books, records, accountings, correspondence or documents or papers,
               electronically stored otherwise, in that Person’s possession, custody, control or
               power relating to the CCAA Parties, the Business or the Property; and

      (d)      take any steps, enter into any agreements, execute any documents, incur any
               obligations or take any other action necessary, useful or incidental to the exercise of
               any of the aforesaid powers,

      and in each case where the Monitor takes any such actions or steps, it shall be exclusively
      authorized and empowered to do so, to the exclusion of all other Persons, including the
      CCAA Parties, and without interference from any other Person.

27.         THE COURT ORDERS that the Monitor shall, subject to the Cash Management
System, be authorized and empowered, but not required, to operate and control, for and on behalf
of and in the name of the CCAA Parties, all of the CCAA Parties’ existing accounts at any
financial institution (each an “Account” and, collectively, the “Accounts”) in such manner as
the Monitor, in its sole discretion, deems necessary or appropriate, including, without limitation,
to:

      (a)      exercise control over the funds credited to or deposited in the Accounts;

      (b)      effect any disbursement from the Accounts permitted by this Order or any other
               Order of this Court;

      (c)      give instructions from time to time with respect to the Accounts and the funds
               credited or deposited therein, including to transfer the funds credited to or deposited
               in such Accounts to such other account or accounts as the Monitor may direct; and

      (d)      add or remove Persons having signing authority with respect to any Account or to
               direct the closing of any Account.
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28.    THE COURT ORDERS that the CCAA Parties and their directors, officers, employees
and agents, accountants, auditors and all other Persons having notice of this Order shall
cooperate with the Monitor in discharging its duties and forthwith provide the Monitor with
unrestricted access to all of the Business and Property, including, without limitation, the
premises, books, records, data, including data in electronic form, and all other documents of the
CCAA Parties.

29.    THIS COURT ORDERS that neither the Monitor nor any employee, representative or
agent of the Monitor shall be deemed to: (i) be a director, officer, employee or trustee of the
CCAA Parties, (ii) be a legal representative or Person to whom section 150(3) of the Income Tax
Act (Canada) applies; (iii) assume any obligation of the CCAA Parties or any one of them; or (iv)
assume any fiduciary duty towards the CCAA Parties or any other Person, including any creditor
or shareholder of the CCAA Parties.

30.    THIS COURT ORDERS that the Monitor shall not be liable for any employee-related
liabilities in respect of the employees of the CCAA Parties, including any successor employer
liabilities as provided for in Section 11.8(1) of the CCAA. Nothing in this Order shall cause the
Monitor to be liable for any employee-related liabilities in respect of the employees of the
CCAA Parties, including wages, severance pay, termination pay, vacation pay, and pension or
benefits amounts.

31.    THIS COURT ORDERS that by fulfilling its obligations hereunder the Monitor shall
not be deemed to have taken or maintained possession or control of the Business or Property, or
any part thereof.

32.    THIS COURT ORDERS that nothing herein contained shall require the Monitor to
occupy or to take control, care, charge, possession or management (separately and/or
collectively, “Possession”) of any of the Property that might be environmentally contaminated,
might be a pollutant or a contaminant, or might cause or contribute to a spill, discharge, release
or deposit of a substance contrary to any federal, provincial or other law respecting the
protection, conservation, enhancement, remediation or rehabilitation of the environment or
relating to the disposal of waste or other contamination including, without limitation, the
Canadian Environmental Protection Act, the Ontario Environmental Protection Act, the Ontario
Water Resources Act, or the Ontario Occupational Health and Safety Act and regulations
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thereunder (the “Environmental Legislation”), provided however that nothing herein shall
exempt the Monitor from any duty to report or make disclosure imposed by applicable
Environmental Legislation. The Monitor shall not, as a result of this Order or anything done in
pursuance of the Monitor’s duties and powers under this Order, be deemed to be in Possession of
any of the Property within the meaning of any Environmental Legislation, unless it is actually in
possession.

33.    THIS COURT ORDERS that that the Monitor shall provide any creditor of the CCAA
Parties with information provided by the CCAA Parties in response to reasonable requests for
information made in writing by such creditor addressed to the Monitor. The Monitor shall not
have any responsibility or liability with respect to the information disseminated by it pursuant to
this paragraph. In the case of information that the Monitor has been advised by the CCAA
Parties is confidential, the Monitor shall not provide such information to creditors unless
otherwise directed by this Court or on such terms as the Monitor may agree.

34.    THIS COURT ORDERS that, in addition to the rights and protections afforded the
Monitor under the CCAA or as an officer of this Court, the Monitor shall incur no liability or
obligation as a result of its appointment or the carrying out of the provisions of this Order, save
and except for any gross negligence or wilful misconduct on its part. Nothing in this Order shall
derogate from the protections afforded the Monitor by the CCAA or any applicable legislation.

35.    THIS COURT ORDERS that the Monitor, counsel to the Monitor, and counsel to the
Pre-Filing Agent, the Pre-Filing Lenders, the DIP Agent and the DIP Lenders shall be paid their
reasonable fees and disbursements, in each case at their standard rates and charges, whether
incurred prior to, on, or subsequent to the date of this Order, by the CCAA Parties, as part of the
costs of these proceedings. The CCAA Parties are hereby authorized and directed to pay the
accounts of the Monitor, counsel for the Monitor and counsel to the DIP Agent on such terms as
the parties may agree.

36.    THIS COURT ORDERS that the Monitor and its legal counsel shall pass their accounts
from time to time, and for this purpose the accounts of the Monitor and its legal counsel are
hereby referred to a judge of the Commercial List of the Ontario Superior Court of Justice.
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ADMINISTRATION CHARGE

37.       THIS COURT ORDERS that the Monitor (whether in its capacity as Monitor or
Foreign Representative) and counsel to the Monitor and Foreign Representative shall be entitled
to the benefit of and are hereby granted a charge (the “Administration Charge”) on the
Property, which charge shall not exceed an aggregate amount of US$2,000,000, as security for
their professional fees and disbursements incurred at the standard rates and charges of the
Monitor and such counsel, both before and after the making of this Order in respect of these
proceedings. The Administration Charge shall have the priority set out in paragraphs 43 and 45
hereof.

DIP FINANCING

38.       THIS COURT ORDERS that on or after the date of this Order and until the Comeback
Hearing (as defined below), Chesswood Group Limited is hereby authorized and empowered to
borrow from the DIP Lenders in accordance with and subject to the terms of the DIP Term Sheet
(each an “Interim Borrowing” and, collectively, the “DIP Borrowings”), provided that (i) such
DIP Borrowings shall not, individually or in the aggregate, exceed US$18,500,000, until further
Order of the Court, (ii) between the date of this Order and the Comeback Hearing, such DIP
Borrowings shall not, individually or in the aggregate exceed US$4,000,000, (iii) such DIP
Borrowings shall be on terms and subject to the conditions, and accrue interest at the rates, set
out in the DIP Term Sheet, and (iv) unless the DIP Agent provides its written waiver, the United
States Bankruptcy Court shall have granted an Order pursuant to the Bankruptcy Code: (a)
provisionally recognizing, ordering and giving effect to this Order, and the DIP Charge (as
defined below) in the United States, and (b) granting such other provisional relief that is sought
by the CCAA Parties, at the request of the DIP Agent.

39.       THIS COURT ORDERS that the Monitor, for and on behalf of and in the name of the
CCAA Parties, is authorized to execute and deliver the DIP Term Sheet and such credit
agreements, security documents, guarantees, and other definitive documents (collectively, the
“Definitive Documents”) as may be required by the DIP Agent or the DIP Financing Majority
Lenders (as defined in the DIP Term Sheet) in connection with the DIP Facility and the DIP
Term Sheet, and the Monitor is authorized, for and on behalf of and in the name of the CCAA
Parties, to pay and perform all of the obligations of the CCAA Parties under the DIP Term Sheet
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and any Definitive Documents as and when the same become due and are to be performed
notwithstanding any other provisions of this Order.

40.         THIS COURT ORDERS that the DIP Agent shall be entitled to the benefit of and is
hereby granted a charge, for and on behalf of the DIP Lenders (the “DIP Charge”) on the
Property of each of the CCAA Parties, which DIP Charge shall not secure any obligation that
exists before this Order is made. The DIP Charge shall have the priority set out in paragraphs 43
to 45 hereof.

41.         THIS COURT ORDERS that, notwithstanding any other provision of this Order:

      (a)      the DIP Agent may take such steps from time to time as it may deem necessary or
               appropriate to file, register, record or perfect the DIP Charge or any of the Definitive
               Documents;

      (b)      upon the occurrence of an event of default under the DIP Term Sheet, Definitive
               Documents or the DIP Charge, then upon five (5) business days’ notice to the CCAA
               Parties and the Monitor, the DIP Agent may exercise any and all rights and remedies
               against the CCAA Parties or the Property pursuant to the DIP Term Sheet, Definitive
               Documents and DIP Charge, including without limitation, to cease making advances
               to the CCAA Parties and, subject to further Order of this Court, set off and/or
               consolidate any amounts owing by the DIP Lenders to any of the CCAA Parties
               against the obligations of the CCAA Parties to the DIP Lenders under the DIP Term
               Sheet, Definitive Documents or DIP Charge, to make demand, accelerate payment
               and give other notices, or to apply to this Court for the appointment of a receiver,
               receiver and manager or interim receiver, or for a bankruptcy order against the CCAA
               Parties or the Property and the appointment of a trustee in bankruptcy of the CCAA
               Parties; and

      (c)      the foregoing rights and remedies of the DIP Agent shall be enforceable against any
               trustee in bankruptcy, interim receiver, receiver or receiver and manager of the
               CCAA Parties or the Property.

42.         THIS COURT ORDERS that the DIP Agent and DIP Lenders shall be treated as
unaffected in any plan of arrangement or compromise filed by the CCAA Parties under the
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CCAA, or any proposal filed by the CCAA Parties under the Bankruptcy and Insolvency Act (the
“BIA”) with respect to any DIP Borrowings.

VALIDITY AND PRIORITY OF CHARGES CREATED BY THIS ORDER

43.    THIS COURT ORDERS that the priorities of the Administration Charge and the DIP
Charge (collectively, the “Charges”), as among them, shall be as follows:

               First – Administration Charge (to the maximum amount of US$2,000,000); and

               Second – DIP Charge.

44.    THIS COURT ORDERS that the filing, registration or perfection of the Charges shall
not be required, and that the Charges shall be valid and enforceable for all purposes, including as
against any right, title or interest filed, registered, recorded or perfected subsequent to the
Charges coming into existence, notwithstanding any such failure to file, register, record or
perfect.

45.    THIS COURT ORDERS that each of the Charges (all as constituted and defined herein)
shall constitute a charge on the Property and such Charges shall rank in priority to all other
security interests, trusts (including deemed or contractual trusts), liens, charges and
encumbrances, claims of secured creditors, statutory or otherwise (collectively,
“Encumbrances”) in favour of any Person , except any Person who is a “secured creditor” as
defined in the CCAA that has not been served with the Notice of Application for this Order. The
CCAA Parties shall be entitled, at the Comeback Hearing, on notice to those Persons likely to be
affected thereby, to seek priority of the Charges ahead of any Encumbrance over which the
Charges may not have obtained priority pursuant to this Order.

46.    THIS COURT ORDERS that except as otherwise expressly provided for herein, or as
may be approved by this Court, the CCAA Parties shall not grant any Encumbrances over any
Property that rank in priority to, or pari passu with, any of the Charges, without the prior written
consent of the Monitor, the DIP Agent and the beneficiaries of the Charges (collectively, the
“Chargees”), or further Order of this Court.
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47.         THIS COURT ORDERS that the DIP Term Sheet, the Definitive Documents and the
Charges shall not be rendered invalid or unenforceable and the rights and remedies of the
Chargees, the DIP Agent and/or the DIP Lenders thereunder shall not otherwise be limited or
impaired in any way by (a) the pendency of these proceedings and the declarations of insolvency
made herein; (b) any application(s) for bankruptcy order(s) or receivership order(s) issued
pursuant to the BIA or otherwise, or any bankruptcy order or receivership order made pursuant to
such applications; (c) the filing of any assignments for the general benefit of creditors made
pursuant to the BIA; (d) the provisions of any federal or provincial statutes; or (e) any negative
covenants, prohibitions or other similar provisions with respect to borrowings, incurring debt or
the creation of Encumbrances, contained in any existing loan documents, lease, sublease, offer to
lease or other agreement (collectively, an “Agreement”) which binds the CCAA Parties, and
notwithstanding any provision to the contrary in any Agreement:

      (a)      neither the creation of the Charges nor the execution, delivery, perfection, registration
               or performance of the DIP Term Sheet or the Definitive Documents shall create or be
               deemed to constitute a breach by the CCAA Parties of any Agreement to which it is a
               party;

      (b)      none of the Chargees shall have any liability to any Person whatsoever as a result of
               any breach of any Agreement caused by or resulting from the CCAA Parties entering
               into the DIP Term Sheet, the creation of the Charges, the DIP Borrowings, or the
               execution, delivery or performance of the Definitive Documents; and

      (c)      the payments made by the CCAA Parties pursuant to this Order, the DIP Term Sheet
               or the Definitive Documents, including the DIP Borrowings, and the granting of the
               Charges, do not and will not constitute preferences, fraudulent conveyances, transfers
               at undervalue, oppressive conduct, or other challengeable or voidable transactions
               under any applicable law.

48.         THIS COURT ORDERS that any Charge created by this Order over leases of real
property in Canada shall only be a Charge in the CCAA Parties’ interests in such real property
leases.
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SERVICE AND NOTICE

49.    THIS COURT ORDERS that the Monitor shall (i) without delay, publish in The Globe
and Mail a notice containing the information prescribed under the CCAA, (ii) within five (5)
days after the date of this Order, (A) make this Order publicly available in the manner prescribed
under the CCAA, (B) send, in the prescribed manner (including by electronic message to the
email addresses as last shown in the CCAA Parties’ books and records), a notice to all known
creditors who have a claim against the CCAA Parties of more than $1000, and (C) prepare a list
showing the names and addresses of such creditors and the estimated amounts of those claims,
and make it publicly available in the prescribed manner, all in accordance with Section 23(1)(a)
of the CCAA and the regulations made thereunder, provided that the Monitor shall not make the
names and addresses of individuals who are creditors publicly available, unless otherwise
ordered by the Court.

50.    THIS COURT ORDERS that the E-Service Protocol of the Commercial List (the
“Protocol”) is approved and adopted by reference herein and, in this proceeding, the service of
documents made in accordance with the Protocol (which can be found on the Commercial List
website at http://www.ontariocourts.ca/scj/practice/practice-directions/toronto/e-service-
protocol/) shall be valid and effective service. Subject to Rule 17.05 this Order shall constitute
an order for substituted service pursuant to Rule 16.04 of the Rules of Civil Procedure. Subject to
Rule 3.01(d) of the Rules of Civil Procedure and paragraph 21 of the Protocol, service of
documents in accordance with the Protocol will be effective on transmission. This Court further
orders that a case website shall be established in accordance with the Protocol with the following
URL http://cfcanada.fticonsulting.com/Chesswood (the “Monitor’s Website”).

51.    THIS COURT ORDERS that if the service or distribution of documents in accordance
with the Protocol or the CCAA and the regulations thereunder is not practicable, the CCAA
Parties and the Monitor are at liberty to serve or distribute this Order, any other materials and
orders in these proceedings, any notices or other correspondence, by forwarding true copies
thereof by prepaid ordinary mail, courier, personal delivery, facsimile transmission or electronic
message to the CCAA Parties’ creditors or other interested parties at their respective addresses as
last shown in the books and records of the CCAA Parties and that any such service or
distribution shall be deemed to be received on the earlier of (i) the date of forwarding thereof, if
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sent by electronic message on or before 5:00 p.m. prevailing Eastern Time (or on the next
business day following the date of forwarding thereof is sent on a non-business day; (ii) the next
business day following the date of forwarding thereof, if sent by courier, personal delivery,
facsimile transmission or electronic message sent after 5:00 p.m. prevailing Eastern Time; or (iii)
on the third (3rd) business day following the date of forwarding thereof, if sent by ordinary mail.

52.    THE COURT ORDERS that the CCAA Parties and the Monitor and their respective
counsel are at liberty to serve or distribute this Order, any other materials and orders in these
proceedings, including any notices, or other correspondence, by forwarding copies thereof by
electronic message to the CCAA Parties’ creditors or other interested parties and their advisors.
For greater certainty, any such distribution or service shall be deemed to be in satisfaction of a
legal or judicial obligation, and notice requirements within the meaning of clause 3(c) of the
Electronic Commerce Protection Regulations, Reg. 81000-2-175 (SOR/DORS).

COMEBACK HEARING

53.    THIS COURT ORDERS that the comeback motion in these CCAA proceedings shall
be heard on November 7, 2024 at 2:00 p.m. prevailing Eastern Time (the “Comeback
Hearing”).

GENERAL

54.    THIS COURT ORDERS that the Monitor may from time to time apply to this Court to
amend, vary or supplement this Order or for advice and directions in the discharge of its powers
and duties hereunder.

55.    THIS COURT ORDERS that nothing in this Order shall prevent the Monitor from
acting as an interim receiver, a receiver, a receiver and manager, or a trustee in bankruptcy of the
CCAA Parties, the Business or the Property.

56.    THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory or administrative body having jurisdiction in Canada or in the United States, to give
effect to this Order and to assist the CCAA Parties, the Foreign Representative, the Monitor and
their respective agents in carrying out the terms of this Order. All courts, tribunals, regulatory
and administrative bodies are hereby respectfully requested to make such orders and to provide
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such assistance to the CCAA Parties, the Foreign Representative and to the Monitor, as an
officer of this Court, as may be necessary or desirable to give effect to this Order, to grant
representative status to the Monitor in any foreign proceeding, or to assist the CCAA Parties, the
Foreign Representative and the Monitor and their respective agents in carrying out the terms of
this Order.

57.    THIS COURT ORDERS that each of the CCAA Parties and the Monitor be at liberty
and is hereby authorized and empowered to apply to any court, tribunal, regulatory or
administrative body, wherever located, for the recognition of this Order and for assistance in
carrying out the terms of this Order.

58.    THIS COURT ORDERS that any interested party (including the CCAA Parties and the
Monitor) may apply to this Court to vary or amend this Order at the Comeback Hearing on not
less than five (5) calendar days’ notice to any other party or parties likely to be affected by the
order sought or upon such other notice, if any, as this Court may order.

59.    THIS COURT ORDERS that this Order and all of its provisions are effective as of
12:01 a.m. prevailing Eastern Time on the date of this Order.

                                                                              Digitally signed by
                                                                              Jessica Kimmel
                                                                              Date: 2024.10.29
                                                         ____________________________________
                                                                              17:47:30 -04'00'
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                                                                                 Court File No.: CV-24-00730212-00CL
IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED
AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF CHESSWOOD GROUP LIMITED, et al.

                                                                                                ONTARIO
                                                                                       SUPERIOR COURT OF JUSTICE
                                                                                           (COMMERCIAL LIST)

                                                                                        Proceeding Commenced at Toronto




                                                                                               INITIAL ORDER




                                                                                      BLAKE, CASSELS & GRAYDON LLP
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                                                                                      Suite 4000, Commerce Court West
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                                                                                      Kelly Bourassa, LSO #43062R
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                                                                                      Lawyers for the Applicant
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                               ONTARIO SUPERIOR COURT OF JUSTICE
                                      (COMMERCIAL LIST)

                         COUNSEL/ENDORSEMENT SLIP
 COURT FILE NO.: CV-24-00730212-00CL                        DATE: 29 October 2024

                                                            NO. ON LIST: 1



 TITLE OF PROCEEDING:

 IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF CHESSWOOD GROUP
 LIMITED, CASE FUNDING INC., CHESSWOOD HOLDINGS LTD., CHESSWOOD US
 ACQUISITIONCO LTD., PAWNEE LEASING CORPORATION, LEASE-WIN LIMITED, WINDSET
 CAPITAL CORPORATION, TANDEM FINANCE, INC., CHESSWOOD CAPITAL MANAGEMENT
 INC ., CHESSWOOD CAPITAL MANAGEMENT USA INC ., RIFCO NATIONAL AUTO FINANCE
 CORPORATION, RIFCO INC., WAYPOINT INVESTMENT PARTNERS INC. and 1000390232
 ONTARIO INC.
 BEFORE: JUSTICE KIMMEL


 PARTICIPANT INFORMATION


For Plaintiff, Applicant, Moving Party:

    Name of Person Appearing                Name of Party                        Contact Info
 Kelly Bourassa                    Applicant, Royal Bank of Canada    kelly.bourassa@blakes.com
 Milly Chow                                                           milly.chow@blakes.com
 Jake Harris                                                          jake.harris@blakes.com


For Defendant, Respondent, Responding Party:

    Name of Person Appearing                Name of Party                      Contact Info
 Lisa S. Corne                     Huntington Bank                    lcorne@dickinsonwright.com
 Saneea Tanvir                     Chesswood Group                    stanvir@mccarthy.ca


For Other, Self-Represented:

    Name of Person Appearing               Name of Party                         Contact Info
 Dave Rosenblat                   Cousnel to the Monitor, FTI        drosenblat@osler.com
 Marc Wasserman                   Consulting                         mwasserman@osler.com
 Jeffrey Rosenberg                Monitor, FTI Consulting            Jeffrey.rosenberg@fticonsulting.com
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 Jodi Porepa                                                       Jodi.porepa@fticonsulting.com




ENDORSEMENT OF JUSTICE KIMMEL:

[1]   This application is brought by the Royal Bank of Canada (“RBC”), in its capacity as
      administrative agent and collateral agent (the “Agent”) on behalf of a group of first secured
      lenders to the Chesswood Group under existing Credit Facilities. These lenders are: RBC,
      The Toronto-Dominion Bank, The Huntington National Bank, M&T Bank, Canadian
      Imperial Bank of Commerce, and Laurentian Bank of Canada (collectively, the “Existing
      Lenders”).

[2]   The Agent seeks an initial order and related relief under the Companies" Creditors
      Arrangement Act, R.S.C. 1985, c. C-36, as amended (the "CCAA").

[3]   The Chesswood Group are the named CCAA Parties. This group of companies is
      comprised of a Canadian public TSX-listed parent company and various affiliated holding
      and operating companies.

[4]   The Chesswood Group does not oppose the Initial Order under the CCAA sought by the
      Existing Lenders. Other lenders with registered security against the property of the CCAA
      Parties received little if any advance notice of this motion and no other stakeholders
      appeared.

[5]   The Proposed Monitor, FTI Consulting Canada Inc. ("FTI" or the "Proposed Monitor")
      recommends in in its October 29, 2024 pre-filing report that the court grant the proposed
      Interim Order.

[6]   The facts with respect to this Application are summarized in the Agent's factum filed in
      support of this motion and more fully set out in the affidavit of Wenwei (Wendy) Chen
      sworn October 28, 2024 (the “Chen Affidavit”). Capitalized terms not otherwise defined
      in this endorsement shall have the meanings ascribed to them in the Agent's factum. The
      summary of background facts below has been largely extracted from the Agent's factum.

      Background to this Application

      Obligations of the CCAA Parties

[7]   As at October 24, 2024, the Chesswood Group owed the Existing Lenders
      US$66,254,723.30 and C$92,797,926.72 (the “Indebtedness”) under their Credit Facilities.
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      In addition, there are outstanding letters of credit of US$4,000,000 and C$6,600,000 issued
      under the Existing Credit Agreement.

[8]   The Chesswood Group is in default of its obligations to the Existing Lenders under the
      Existing Credit Agreement. This Indebtedness is secured by all of the existing undertaking
      and property of the Chesswood Group. Some of the members of the Chesswood Group
      have provided guarantees of the Indebtedness that are fully secured (collectively, the
      "Existing Guarantees”).

[9]   Certain members of the Chesswood Group are servicers of equipment loans and leases that
      have been sold to securitization vehicles or directly to third-party funders to generate
      funding (i.e., the upfront payment or purchase price) that the Chesswood Group then
      redeployed to grow its business. Two members of the Chesswood Group, Pawnee and
      Rifco, along with certain special purpose securitization vehicles not subject to these
      proceedings (“SPVs”), are party to certain securitization agreements (the “Securitization
      Agreements”) with the various Securitization Funders.

[10] None of the CCAA Parties are SPVs. The Securitization Agreements generally
      contemplate that the applicable Chesswood Group entity is required to continue to
      administer or “service” the loans and leases. The Securitization Agreements generally also
      permit the Securitization Funders to replace the applicable Chesswood Group entity as
      servicer if specified events occur, including in some instances, an insolvency of the
      applicable servicer or the Borrower.

[11] Counsel for the Agent advises that the proposed Initial Order is structured so as to
      minimally interfere with the normal operations of the Chesswood Group in connection
      with these Securitization Agreements and the Securitization Funders. The Initial Order is
      not intended to affect the existing rights of those stakeholders, although there does need to
      be some co-ordinated cash management that the Monitor is aware of. The Securitization
      Funders will have the opportunity to satisfy themselves of this in advance of the comeback
      hearing. The Monitor intends to prioritize discussions with the stakeholders involved in
      that aspect of the business.

      Events and Defaults Leading to the CCAA Filing

[12] A special committee of Chesswood directors (the “Special Committee”) was appointed in
      January 2024 to review the Chesswood Groupʼs strategic options. On June 14, 2024,
      Chesswood announced that the Special Committee had come to the view that it was in the
      Chesswood Groupʼs best interests to actively pursue a sale of one or more of its business
      units or the company as a whole, and failing such sale (or sales), to commence an orderly
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     winddown of one or more of its business units. Also on June 14, 2024, after reviewing an
     annual external audit of its Borrowing Base, Chesswood announced that it was in breach of
     its borrowing base covenants contained in the Existing Credit Agreement (the “Borrowing
     Base Event of Default”).

[13] Other Events of Default (together with the Borrowing Base Event of Default, the “Events
     of Default”) have occurred. The Existing Lenders agreed to agreed to waive certain
     Events of Default for a limited period (the “Waiver Period”) to allow the Chesswood
     Group to sell certain of its assets to pay down the Indebtedness. However, the sale efforts
     have not solved the financial challenges that the Chesswood Group is facing. To date, it
     has been unable to effect sales of a large part of its business. The Waiver Period ended on
     October 16, 2024.

[14] On October 28, 2024, the Agent formally demanded payment from the Chesswood Group
     via written notices (the “Demands”) in accordance with the Existing Credit Agreement.
     The Agent also delivered notices of intention to enforce security pursuant to Section 244 of
     the Bankruptcy and Insolvency Act (Canada).

[15] The Chesswood Group is insolvent, unable to meet its obligations as they come due,
     unable to repay the Existing Lenders and does not have the cash flow to fund its operations
     in the ordinary course. The Chesswood Group has over US$800 million of loan and lease
     assets securitized with the Securitization Funders. Some Securitization Funders are, in
     accordance with the provisions of the related Securitization Agreements, holding back
     funds owing to the Chesswood Group as a result of loan asset performance issues. Other
     assets are tied up because the Securitization Funders have already terminated the
     Chesswood Group entity as the service provider due to loan asset performance issues.

[16] The Ontario Securities Commission issued a failure to file cease trade order (the “Cease
     Trade Order”) against Chesswood on or about August 15, 2024. The Cease Trade Order
     has not been lifted.

[17] The Existing Lenders are prepared to provide necessary interim financing to the
     Chesswood Group on the conditions that Chesswood Group be granted protection under
     the CCAA and that the Monitor be granted expanded powers to oversee and manage the
     Chesswood Groupʼs business and financial affairs. The proposed Initial Order is designed
     to satisfy these conditions.

     Analysis of Issues for Granting the Initial Order
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     The Agent's Standing and Status of the CCAA Parties: the CCAA Applies

[18] The Agent and the Existing Lenders are creditors of the Chesswood Group pursuant to the
     Existing Credit Agreement and the Existing Guarantees and are therefore empowered by
     section 5 of the CCAA to bring the Application. There is precedent for creditor led CCAA
     orders. See for example, ATB Financial v Metcalfe & Mansfield Alternative Investments II
     Corp, 2008 CanLII 2172 and Miniso International Hong King Limited v. Migu Investments
     Inc., 2019 BCSC 1234 at para 45.

[19] Section 9(1) of the CCAA provides that an application under the CCAA may be made to the
     court that has jurisdiction in the province where the debtor company has its “head office or
     chief place of business.” The Chesswood Group is headquartered in Toronto, Ontario.

[20] The Chesswood Group entities do business in Canada and have liabilities in excess of
     $5,000,000 and are insolvent within the meaning of s. 2 of the CCAA and the definition of
     insolvency under the Bankruptcy and Insolvency Act, RSC 1985, c B-3, as amended (the
     "BIA"). The Chesswood Group does not have the cash flow to fund its operations in the
     ordinary course. The Chesswood Group entities need immediate access to funds, which are
     only available under the DIP Facility including the Initial Advance to be funded on
     October 31, 2024.

[21] The Proposed Monitor is of the view that the CCAA Parties are insolvent and that the
     Chesswood Group will require interim financing to continue their operations during these
     CCAA proceedings.

[22] I am satisfied that the CCAA Parties (Chesswood Group entities) are debtor companies to
     which the CCAA applies.

     The Stay

[23] Given the Chesswood Groupʼs current financial position and lack of liquidity, a stay of
     proceedings under s. 11.02 (1) of the CCAA is necessary to maintain the status quo and to
     give the Chesswood Group breathing space to allow the Monitor to stabilize operations for
     the benefits of all of the stakeholders of the Chesswood Group. The stay during the Initial
     Stay Period until the come-back hearing, scheduled for November 7, 2024 is appropriate in
     the circumstances. The Agent has acted with due diligence and in good faith to bring
     forward this application after the expiry of the extended Waiver Period on October 16,
     2024.

[24] The Agreed Budget (as defined in the DIP Financing Term Sheet) indicates that the
     Chesswood Group will have sufficient funds to continue to operate during the Initial Stay
     Period, provided that the DIP Financing Term Sheet is approved, and the Interim DIP
     Charge is granted by the Court.
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[25] The Proposed Monitor has reviewed the consolidated cash flow projection of the CCAA
     Parties which confirms this.

     The Proposed Monitor and its Enhanced Powers

[26] FTI consents to act as the Monitor of the Chesswood Group if the court approves its
     appointment. It is a trustee within the meaning of section 2 of the BIA and is not subject to
     any of the restrictions on who may act as a monitor as set out in section 11.7(2) of the
     CCAA. Its pre-filing work has provided it with important background and insight into the
     Chesswood Group and its prior experience acting as a court officer in insolvency and
     restructuring proceedings renders it qualified to be appointed as the Monitor in this CCAA
     proceeding.

[27] The Monitor needs the enhanced powers proposed under the draft order because all of the
     directors are resigning today. Someone needs to ensure that the operations of the
     Chesswood Group continue to be carried on for the benefit of all stakeholders.

[28] Further, since the Chesswood Group has operations, assets and valuable relationships in
     the U.S., contemporaneously with the commencement of these CCAA proceedings, it is
     intended that the Monitor, as foreign representative for the Chesswood Group (in such
     capacity, the "Foreign Representative"), will seek recognition and enforcement of these
     CCAA proceedings pursuant to an order by the United States Bankruptcy Court for
     Delaware under Chapter 15 of the United States Bankruptcy Code (the "Chapter 15 Case").

[29] Sections 11 and 23(1)(k) of the CCAA provide jurisdiction to this Court to grant the
     Monitor enhanced powers as part of the Initial Order. While these powers are not
     frequently granted at the stage of an Initial Order, they can be when they are needed in a
     particular case. I find it the proposed enhanced powers are "appropriate in light of what is
     needed in the circumstances" and specifically to allow the Monitor to better manage the
     debtor companies for the benefit of all stakeholders: see Re Harte Gold Corp, 2022 ONSC
     653, at paras. 91 and 92, Re Urbancorp Cumberland 2 GP Inc., 2017 ONSC 7649, at para
     20 and Re Inca One Gold Corp/, 2024 BCSC 1478, at para. 36.

[30] There is no indication that any other creditors may be prejudiced by the granting of those
     expanded powers, but they will have a chance to be heard at the comeback hearing if there
     are any concerns in this regard.

     The Administration Charge

[31] The Agent is seeking an Administration Charge over the property of the Chesswood Group
     in favour of the Monitor and its counsel to secure payments of their reasonable fees and
     disbursements incurred both before and after filing in the maximum amount of $2,000,000.
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[32] These Professionals will have extensive involvement with the conduct of the CCAA
     proceedings and the Chapter 15 Case, including the oversight of the Chesswood Group
     during the proceedings. The Professionals have contributed and will continue to contribute
     to an orderly sale or wind down of the Chesswood Group's business.

[33] The criteria to be considered in determining whether to grant this super-priority charge for
     the fees and expenses of financial, legal and other advisors and experts under s. 11.52 of
     the CCAA favour the granting of the proposed Administration Charge in this case.

     The DIP Financing and Charge

[34] Section 11.2 of the CCAA allows the court to approve the DIP Facility and an Interim DIP
     Charge that ranks in priority to the Chesswood Group's secured creditors, on notice to
     those secured creditors that would be affected, and in an amount that this Court considers
     appropriate having regard to the Agreed Budget. Secured creditors who were not on notice
     of the motion for the Initial Order will be given the opportunity to raise any objections to
     this at the comeback hearing.

[35] Having considered the factors under section 11.2(4) of the CCAA, I find the proposed DIP
     Facility and DIP Charge to be reasonable and appropriate in the circumstances. The terms
     of the loan are limited to those terms that are reasonably necessary for the CCAA Parties'
     continued operations in the ordinary course of business during the initial Stay Period. The
     Monitor has reviewed the terms of the DIP Facility and confirmed that they are within the
     range of reasonable market terms in comparable circumstances. The Monitor has also
     reviewed and confirmed the consolidated cash flow forecast that establishes the need for
     and intended use of these funds in the short and long term.

[36] There are some particular characteristics of the DIP Facility Terms and DIP Charge that
     are a function of the particular nature of these insolvency proceedings.

         a. The DIP Facility will be primarily used to fund operating expenses while
            anticipated receipts will be used to fund past and continuing interest accruing
            under the Existing Credit Facilities. Payment of that interest was a condition of the
            agreement of the Existing Lenders to provide the DIP Facility. The DIP Facility
            Terms contemplate an overall combined maximum total of pre-filing debt and DIP
            draws of approximately $165 million. The Monitor considers this to be reasonable
            in the circumstances. The Proposed Monitor has the benefit of a preliminary pre-
            filing security review and believes that those interest payments would have been
            paid to the Existing Lenders in priority to other secured and unsecured creditors of
            the CCAA Parties in any event.

         b. The DIP Facility will be used to fund the pre and post-filing fees of the Agent, the
            Proposed Monitor and their legal fees and those of the CCAA Parties.
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         c. The maximum permitted borrowing amount at this time is more than what is
            needed to sustain the Chesswood Group's operations through the initial Stay Period
            because it is also intended to cover an extended period beyond given that the final
            recognition order in the United States will not be considered until later in
            November. Providing for a higher cap now will avoid the time and expense of
            multiple motions in the United States.

         d. While the Initial Advance to be funded during the initial Stay Period is limited to
            US$4,000,000, with an Interim DIP Charge in the same amount, approval of the
            full Interim DIP Charge, set at US$18,500,000, is necessary so that amount is
            available up until the issuance of the Final Recognition Order (as defined in the
            DIP Financing Term Sheet) in the Chapter 15 Case.

[37] The Monitor has reviewed these and the other DIP Facility Terms and recommends their
    approval.

    Suspending Securities Reporting and Filing Requirements

[38] Due to the issuance of the Cease Trade Order and the Chesswood Group's financial
    condition, the Agent is seeking authorization from this Court to dispense with certain
    securities reporting and filing requirements of Chesswood during the length of the stay of
    proceedings.

[39] In circumstances where such filing requirements would cause the debtor and the monitor to
    incur significant costs in order to prepare the necessary filings, this Court has dispensed
    with the requirement to make such filings, particularly because the monitor makes detailed
    financial information available publicly on its website: see Humble & Fume Inc. et al,
    Endorsement of Honourable Justice Cavanagh dated 5 January 2024 (ONSC [Commercial
    List]), Court File No CV-24-00712366-00CL (Initial Order) at paras 15-16.

[40] The Monitor will be posting detailed financial information in respect of the Chesswood
    Group on its website for these CCAA proceedings. As a result, dispensing with the filing
    requirements is appropriate in the circumstances.

[41] The proposed language has been adapted to correspond with language approved by the
    OSC in other proceedings where such relief has been granted.

    Initial Order and Comeback

[42] The Agent has worked with the CCAA Parties and the Proposed Monitor to limit the relief
    sought on this initial application to only the relief that is reasonably necessary in the
    circumstances for the continued operation of the business of the CCAA Parties within the
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     initial stay period as required by s. 11.001 of the CCAA, recognizing that there is more
     uncertainty because of the enhance role that will be granted to the Monitor from the outset.

[43] I am satisfied that the requested relief is necessary for the immediate stabilization of their
     businesses and to protect it and the interests of its various stakeholders. The proposed
     order is consistent with the Commercial List Model Order (with some additions
     representative of the specific circumstances of this case).

[44] For the foregoing reasons, the Initial Order is granted, in the revised form signed by me
     today.

[45] The come-back hearing has been scheduled before me on November 7, 2024 commencing
     at 2:00 p.m. on zoom.




     KIMMEL J.
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


              In re:                                                      Chapter 15

              CHESSWOOD GROUP LIMITED, et al.,1                           Case No. 24- (___)

                          Debtors in a Foreign Proceeding.                (Joint Administration Requested)


             CONSOLIDATED LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)(B)

                  FTI Consulting Canada Inc. (“FTI”) is the court-appointed monitor and duly authorized

         foreign representative (the “Petitioner”), as defined by section 101(24) of title 11 of the United

         States Code of the above-captioned debtors (the “Debtors”), which are the subject of jointly-

         administered proceedings under Canada’s Companies’ Creditors Arrangement Act, R.S.C. 1985,

         c. C-36 in the Ontario Superior Court of Justice, in Toronto, Ontario, Canada (the “Canadian

         Proceedings”). The Petitioner hereby files this list pursuant to Rule 1007(a)(4)(B) of the Federal

         Rules of Bankruptcy Procedure and states as follows:

         1.       Administrators in Foreign Proceedings Concerning the Debtors:

                 FTI is the only court-appointed “administrator” in the Canadian Proceedings. The
         Petitioner believes that, other than the Canadian Proceedings and these chapter 15 cases, there are
         no foreign proceedings pending with respect to any of the Debtors.

                          Toronto-Dominion Centre
                          TD South Tower
                          79 Wellington St W Suite 2010
                          Toronto, ON M5K 1G8



         1
           The last four digits of the United States Tax Identification Number, or similar foreign identification number, as
         applicable, follow in parentheses: Chesswood Group Limited (6730), Chesswood Holdings Ltd. (8445), Lease-Win
         Limited (2081), Case Funding Inc. (8049), 1000390232 Ontario Inc. (0232), Chesswood Capital Management Inc.
         (4785), Chesswood Capital Management USA Inc. (3582), Chesswood U.S. Acquisitionco Ltd. (4029), Pawnee
         Leasing Corporation (4533), Tandem Finance Inc. (1260), Windset Capital Corporation (4857), Rifco Inc. (7815), and
         Rifco National Auto Finance Corporation (1311). The Debtors’ executive headquarters is located at Chesswood
         Group Limited, 41 Scarsdale Road, Suite 5, Toronto, ON, M3B 2R2.
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         2.       A description of active litigation in the United States involving the Debtors.

                The Petitioner is not aware of any active litigation in the United States involving the
         Debtors.

         3.       Entities against whom provisional relief is sought pursuant to 11 U.S.C. § 1519.

                  A list of such entities is attached hereto on Exhibit 1.


             Dated: October 30, 2024                 YOUNG CONAWAY STARGATT & TAYLOR,
                    Wilmington, Delaware             LLP

                                                     /s/ Kenneth J. Enos
                                                     Kenneth J. Enos (No. 4544)
                                                     Rodney Square
                                                     1000 North King Street
                                                     Wilmington, Delaware 19801
                                                     Telephone: (302) 571-6600
                                                     Facsimile: (302) 571-1253
                                                                 kenos@ycst.com
                                                     -and-

                                                     ALSTON & BIRD LLP
                                                     Stephen M. Blank (pro hac vice admission pending)
                                                     William Hao (pro hac vice admission pending)
                                                     Dylan S. Cassidy (pro hac vice admission pending)
                                                     90 Park Avenue
                                                     New York, New York 10016
                                                     Tel: (212) 210-9400
                                                     Fax: (212) 210-9444
                                                     Email: stephen.blank@alston.com
                                                             william.hao@alston.com
                                                             dylan.cassidy@alston.com

                                                     Counsel for the Petitioner




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                                    EXHIBIT 1

                  Parties Against Whom Provisional Relief Is Sought




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Name                                                       Address                                             City               Province/State   Postal/Zip Code   Country
Chesswood Capital Management (CCM)                         41 Scarsdale Road, Suite 5                         Toronto             ON               M3B 2R2           Canada
Waypoint Private Credit Fund LP                            1133 Yonge Street, Suite 603                       Toronto             ON               M4T 2Y7           Canada
Sun Life Financial Trust Inc                               227 King Street South                              Waterloo            ON               N3J 4C5           Canada
Deutsche Bank Trust Company Americas                       60 Wall Street, 24th Floor                         New York            NY               10005             United States
A.G. ADJUSTMENTS                                           PO Box 9090                                        Melville            NY               11747             United States
BRYAN D. MARCUS, PC                                        150 W 2ND ST STE 250                               Royal Oak           MI               48067             United States
COHN & DUSSI, LLC                                          255 STATE ST STE 7B                                Boston              MA               02109             United States
DARCY & DEVASSY PC                                         444 N MICHIGAN AVE STE 3270                        Chicago             IL               60611             United States
DAVIS HARTMAN WRIGHT                                       209 POLLOCK ST                                     New Bern            NC               28560             United States
DELOITTE & TOUCHE LLP                                      PO BOX 844708                                      Dallas              TX               75284-4708        United States
DORSEY & WHITNEY LLP                                       PO BOX 1680                                        Minneapolis         MN               55480             United States
EXCELERON DESIGNS                                          357 CYPRESS DR STE 5                               Tequesta            FL               33469             United States
FERNS, ADAMS & ASSOCIATES                                  2815 MITCHELL DR STE 210                           Walnut Creek        CA               94598             United States
FIELD EFFECT SECURITY INC.                                 207-825 Exhibition Way                             Ottawa              ON               K1S 5J3           Canada
HELIX PROPERTY MANAGEMENT                                  PO Box 711                                         Fort Collins        CO               80522             United States
HIQUEST GROUP                                              1900 S NORFOLK ST STE 245                          San Mateo           CA               94403             United States
INOVATEC                                                   FOUR BENTALL CENTRE 1055 DUNSMUIR ST STE 3501 PO BOVancouver           BC               V7X 1K8           Canada
JARDINE, STEPHENSON, BLEWETT & WEAVER, PC                  PO BOX 2269                                        Great Falls         MT               59403-2269        United States
JENNINGS, HAUG KELEHER MCLEOD                              2800 N CENTRAL AVE STE 1800                        Phoenix             AZ               85004-1049        Canada
JOHNSON MUFFLY & DAUSTER, PC                               323 S COLLEGE AVE STE 1                            Fort Collins        CO               80524             United States
LAW OFFICES OF BENJAMIN E. KELLY, P.S.                     9218 ROOSEVELT WAY NE                              Seattle             WA               98115             United States
LEVI, WITTENBERG, HARRITT, ET AL, P.A.                     PO BOX 730                                         Sumter              SC               29150             United States
LEWIS GIANOLA PLLC                                         PO BOX 1746                                        Charleston          WV               25326             United States
LTi TECHNOLOGY SOLUTIONS                                   4139 SOUTH 143RD CIRCLE                            Omaha               NE               68137             United States
LUMEN                                                      PO BOX 52187                                       Phoenix             AZ               85072-2187        United States
MARKOFF LAW LLC                                            29 N WACKER DR STE 1010                            Chicago             IL               60606             United States
MCCULLOUGH, LLC                                            1579 MONROE DR STE 251                             Atlanta             GA               30324             United States
MICHAEL DANOFF & ASSOCIATES, PC                            1225 RIO GRANDE BLVD NW                            ALBUQUERQUE         NM               87104             United States
PAYNET, INC                                                PO BOX 71221                                       Charlotte           NC               28272-1221        United States
PLANTE & MORAN, PLLC                                       16060 COLLECTIONS CENTER DR                        Chicago             IL               60693             United States
PLATZER, SWERGOLD, GOLDBERG, KATZ & JASLOW LLP             475 PARK AVE S 18TH FLR                            New York            NY               10016             United States
PROGRESS SOFTWARE CORPORATION                              PO BOX 84-5828                                     Boston              MA               02284-5828        United States
PUREWATER DYNAMICS, INC                                    30 Kalamath St                                     Denver              CO               80223             United States
RICHARDS LAYTON & FINGER                                   920 N. King St.                                    Wilmington          DE               19801             United States
RUSH, MARSHALL, JONES, WATSON AND HOUCHINS, PA             PO BOX 3146                                        Orlando             FL               32802-3146        United States
SIMPSON LAW FIRM P.A.                                      PO BOX 2058                                        Madison             MS               39130             United States
SMITH DEBNAM ATTORNEYS AT LAW                              PO BOX 176010                                      Raleigh             NC               27619-6010        United States
SULLIVAN & TERRANOVA                                       10157 SW BARBUR BLVD STE 208C                      Portland            OR               97219             United States
THE OAKES LAW FIRM                                         110 VETERANS MEMORIAL BLVD STE 560                 Metairie            LA               70005             United States
THOMSON REUTERS                                            PO BOX 6292                                        Carol Stream        IL               60197-6292        United States
TRUEPIC INC                                                402 W BROADWAY STE 400/PMB#5021                    San Diego           CA               92101             United States
WELLS FARGO CORPORATE TRUST SERVICES                       PO BOX 1450                                        MINNEAPOLIS         MN               55485-8113        United States
WELTMAN, WEINBERG & REIS CO, LPA                           PO BOX 74106                                       Cleveland           OH               44101-4106        United States
XEROX BUSINESS SOLUTIONS SOUTHWEST                         PO BOX 674911                                      Dallas              TX               75267-4911        United States
JM Hospitality Solutions LLC                               1310 SE Maynard Rd, Suite 101                      Cary                NC               27511             United States
K. Lowe Plumbing, Inc                                      3750-C Industrial Ave                              Rolling Meadows     IL               60008             United States
Horizontal Vertical & General Construction LLC             14827 Loggerhead Dr                                Naples              FL               34120             United States
Doran Productions                                          22617 44th Ave W #A                                Mountlake Terrace   WA               98043             United States
Lincoln Sign Co.                                           916 Springdale Dr                                  Exton               PA               19341             United States
Petroleum Solutions Inc DBA JF Petroleum Group             100 Perimeter Park Drive, Suite H                  Morrisville         NC               27560             United States
PR Refrigeration & HVAC                                    680 Route 211 E 3B #224                            Middletown          NY               10941             United States
ABM Equipment Compnay Inc                                  13911 NW 3rd CT #100                               Vancouver           WA               98685             United States
LANIER AIR PRODUCTS, INC.                                  210 Collins Road                                   Toccoa              GA               30577             United States
BESPOKE SEVEN LLC                                          55 CONSTANT AVENUE                                 LODI                NJ               07644             United States
FIRST COAST HYDRAULIC REPAIR INC                           PO BOX 37622                                       JACKSONVILLE        FL               32236             United States
Michael F. Soldo LLC                                       46 Jennifer Lane                                   Aston               PA               19014             United States
DIVERSIFIED RACK & SHELVING INC.                           603 RT 130 NORTH                                   EAST WINDSOR        WI               08520             United States
EnergiSystems                                              850 Parkway Ln                                     Billings            MT               59101             United States
Culinex                                                    1802 First Ave S                                   Fargo               ND               58108             United States
ALPHA MANAGEMENT GROUP OF SUNNY FLORIDA LLC DBA Alpha Play 1481 SW 153 Way                                    Davie               FL               33326             United States
Trailer Source Inc                                         6064 W State Steet                                 Hurricane           UT               84737             United States
Apex Build & Remodel LLC                                   23401 SE Borges Rd                                 Damascus            OR               97089             United States
HCS Petroleum Equipment Inc.                               2301 West 29th North                               Wichita             KS               67204             United States
Spatco Energy Solutions LLC                                5555 OAKBROOK PARKWAY, SUITE 440                   NORCROSS            GA               30093             United States
Freeman Signs, Inc.                                        3883 N. Monaco Pkwy                                Denver              CO               80207             United States
ESTI Warehouse                                             410 Long Island Ave                                Wyandanch           NY               11798             United States
G & K Home Services LLC                                    581 W. Market St                                   York                PA               17401             United States
Precor INC                                                 20031 142nd Ave. NE                                Woodinville         WA               98072             United States
RBC Royal Bank - Global Loans Administration               155 Wellington Street West, 8th Floor              Toronto             ON               M5V 3K7           Canada
Kim Reichert                                               4288 Ryders Ridge Blvd                             Sylvan Lake         AB               T4S 0M5           Canada
Mark Wilson's Better Used Cars                             700 York Road                                      Guelph              ON               N1E 6A5           Canada
Good Fellows Auto Wholesale                                3675 Keele Street                                  North York          ON               M3J 1M6           Canada
Progressive Auto Repair Ltd                                4053 Ogden Road SE                                 Calgary             AB               T2G 4P2           Canada
Race Auto Group                                            692 Windmill Road                                  Dartmouth           NS               B3B 2A5           Canada
Ride Time                                                  87 Oak Point Highway                               Winnipeg            MB               R2R 0T8           Canada
Aftaab Gill                                                106 Drinkwater Road                                Brampton            ON               L6Y 5C4           Canada
defi Solutions, LLC                                        1600 Solana Blvd, Suite 8120                       Westlake            TX               76262             United States
Dominion Leasing Software                                  PO Box 550                                         Powhatan            VA               23139             Canada
Equifax Canada Inc.                                        PO Box 4265                                        Toronto             ON               M5W 5T7           Canada
Flinks                                                     1275 Avenue des Canadiens-de-Montreal              Montreal            QC               H3B 5E8           Canada
Harmeet Singh                                              22 Twistleton St                                   Caledon             ON               L7C 3V9           Canada
Innov8 Digital Solutions                                   809 Finns Road                                     Kelowna             BC               V1X 5B8           Canada
SalesForce.com Canada Corp                                 C/O 913321                                         Toronto             ON               M5W 0E9           Canada
Xplornet Enterprise Solutions                              300 Lockhart Mill Rd                               Woodstock           NB               E7M 6B5           Canada
Agnes Molohon                                              19 Armitage Cl                                     Red Deer            AB               T4R 2K5           Canada
Lan Joyce and Lan Vu                                       12300 Bridgeport Road                              Richmond            BC               V6V 1J5           Canada
Colleen Ranger                                             410, 4425 Heritage Way                             Lacombe             AB               T4L 2P4           Canada
Joan Benko                                                 438 Carriage Lane Crossing (1674)                  Carstairs           AB               T0M 0N0           Canada
Walter & Dorleen Burym                                     Box 84                                             Stennon             SK               S0A 3X0           Canada
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Name                                                        Address                                                  City                Province/State   Postal/Zip Code   Country
Gurmit Saran                                                7721 Getty Wynd                                            Edmonton          AB               T5T 4L3           Canada
Eero & Josephine Sorila                                     1348 East 35 Ave                                           Vancouver         BC               V5W 1C1           Canada
John G. Joyce                                               12300 Bridgeport Road                                      Richmond          BC               V6V 1J5           Canada
Lan Vu and Lan Joyce                                        12300 Bridgeport Road                                      Richmond          BC               V6V 1J5           Canada
Ben & Marilyn Keryluke                                      145-27475 Township Rd 380                                  Red Deer          AB               T4S 2B7           Canada
Moosajee (2012) Family Trust                                1465 Caulder Drive                                         Oakville          ON               L6J 5T1           Canada
Stirling and Donna McLeod                                   15 Lake Ridge                                              Olds              AB               T4H 1W2           Canada
Dorothy Kilpatrick                                          4522 – 47A Ave                                             Red Deer          AB               T4N 3R3           Canada
Tim & Ruth Peterson                                         Box 335                                                    Hanna             AB               T0J 1P0           Canada
Securcor Financial Group                                    1100 Burloak Drive, Suite 301                              Burlington        ON               L7L 6B2           Canada
Versa Bank                                                  1979 Otter Place                                           London            ON               N5V 0A3           Canada
Connect First Credit Union                                  200-2850 Sunridge Blvd. NE                                 Calgary           AB               T1Y 6G2           Canada
Sun Life Capital Management                                 227 King Street South                                      Waterloo          ON               N2J 4C5           Canada
Genieall                                                    5535 Eglington ave West, Unit 218                          Toronto           ON               M9C 5K5           Canada
MNP                                                         161 Adelaide St. E , Suite 1900                            Toronto           ON               M5C 2V9           Canada
Regus                                                       161 Bay Street, 27th Floor                                 Toronto           ON               M5J 2S1           Canada
Salesforce                                                  10 Bay Street, Suite 400                                   Toronto           ON               M5J 2R8           Canada
Broadridge USD                                              P.O. Box 416423                                            Boston            MA               02241-6423        Canada
CNW                                                         88 Queens Quay West, Suite 3000                            Toronto           ON               M5J 0B8           Canada
DDL                                                         111-52 Scarsdale Road                                      Toronto           ON               M3B 2R7           Canada
Duntrune LLP                                                141 Adelaide Street West, Suite 420                        Toronto           ON               M5H 3L5           Canada
EY                                                          100 Adelaide Street West                                   Toronto           ON               M5H 0B3           Canada
KPMG                                                        Suite 4600 Bay Adelaide Centre, 333 Bay Street             Toronto           ON               M5H 2S5           Canada
Morgan Stanley - Solium Capital ULC                         Suite 1500 600 3rd Avenue SW                               Calgary           AB               T2P 0G5           Canada
Solulan Global Inc.                                         106 rue Emilien-Marcoux                                    Blainville        QC               J7C 0B5           Canada
Wells Fargo                                                 PO Box 7446, Station A                                     Toronto           ON               M5W 3C1           Canada
Wilson Vukelich LLP                                         60 Columbia Way, 7th Floor                                 Markham           ON               L3R 0C9           Canada
RBC Royal Bank - Global Loans Administration                155 Wellington Street West, 8th Floor                      Toronto           ON               M5V 3K7           Canada
Borden Ladner Gervais LLP                                   Bay Adelaide Centre, East Tower, 22 Adelaide St. W.        Toronto           ON               M5H 4E3           Canada
Bosch                                                       6696 Financial Dr., Unit #3                                Mississauga       ON               L5N 7J6           Canada
Fundserv Inc.                                               333 Bay Street, Suite 2600                                 Toronto           ON               M5H 2R2           Canada
HUB International                                           265 Exmouth St.                                            Sarnia            ON               N7T 5M7           Canada
NDEX Systems                                                500 Rue Saint-Jacques, Suite 400                           Montreal          QC               M4T 2Y7           Canada
SGGG Fund Services Inc.                                     121 King St. W, Suite 300                                  Toronto           ON               M5H 319           Canada
Stericycle ULC (Shred-It)                                   P.O. Box 15781, Station A                                  Toronto           ON               M5W 1C1           Canada
Chesswood Group Limited                                     41 Scarsdale Road, Suite 5                                 Toronto           ON               M3B 2R2           Canada
RBC VISA                                                    P.O. Box 4016, Station A                                   Toronto           ON               M5W 2E6           Canada
Varde Partners                                              520 Madison Ave, 34th Floor                                New York          NY               10022             United States
Waypoint Partners                                           1133 Yonge Street, Suite 603                               Toronto           ON               M4T 2Y7           Canada
Securities Class Action                                     330 Bay Street, Suite 505                                  Toronto           ON               M5H 2S8           Canada
BDI a Division of Bell lMobility Inc.                       PO Box 4100 PO A                                           Etobicoke         ON               M9C 0A8           Canada
Bell Mobility Inc.                                          PO Box 5102                                                Burlington        ON               L7R 4R7           Canada
Bill Gosling Outsourcing                                    16635 Yonge Street Suite 26                                Newmarket         ON               L3X 1V6           Canada
Broadband Dynamics Canada Inc.                              8757 E. Via de Commercio                                   Scottsdale        AZ               85258             United States
Canada Life                                                 Suite 1410, 10405 Jasper Ave                               Edmonton          AB               T5J 3N4           Canada
Carfax Canada                                               100 Kellogg Lane, Suite 301                                London            ON               N5W 0B4           Canada
Certified Tracking Solutions Inc                            4320 Savaryn Dr SW                                         Edmonton          AB               T6X 1Z9           Canada
CGI Information Systems & Management Consultants Inc        PO Box 12535                                               Montreal          QC               H3C 6R1           Canada
City of Red Deer                                            PO Box 5008                                                Red Deer          AB               T4N 3T4           Canada
Cloudways                                                   52 Springvale                                              Mosta             Malta            MT20765109        Malta
Collateral Management Solutions Corporation                 405 The West Mall, Suite 110                               Etobicoke         ON               M9C 5J1           Canada
Consolidated Civil Enforcement                              200, 807 Manning Rd NE                                     Calgary           AB               T2E 7M8           Canada
DealerTrack Canada                                          405 The West Mall, Suite 110                               Etobicoke         ON               M9C 5J1           Canada
Empire Life                                                 144 - 4th Ave                                              Calgary           AB               T2P 3N4           Canada
ESC Corporate Services Ltd                                  445 King Street West, Suite 400                            Toronto           ON               M5V 1K4           Canada
Expert Revenue Systems                                      8 Claremont Road, Dublin 4                                 Dublin            Dublin           D04 XY86          Ireland
Expert Security Solutions                                   4700 60 Street                                             Red Deer          AB               T4N 7C7           Canada
Homewood Health Inc                                         1050 West Pender Street                                    Vancouver         BC               V6E 3S7           Canada
Imagine It Inc.                                             PO Box 27140                                               Red Deer          AB               T4N 6X8           Canada
Info Grid Systems Inc                                       593 Westview Avenue                                        Ancaster          ON               L9G 1N8           Canada
Inverite                                                    900 - 2025 Willingdon Ave                                  Burnaby           BC               V5C 0J3           Canada
Legacy Branding                                             6013 48th Ave, Bay 6                                       Red Deer          AB               T4N 3V5           Canada
Lexop Solutions Inc                                         506 Mcgill, Suite 400                                      Montreal          QC               H2Y 2H6           Canada
LiveVox Inc.                                                Mail Code 8325, PO Box 7247                                Philadelphia      PA               19170             United States
Matrix Bailiff Services                                     31099 - 2929 St Johns St.                                  Port Moody        BC               V3H 2C2           Canada
Nexus Bailiffs                                              434 Tiffin Street                                          Barrie            ON               L4N 9W8           Canada
NForce Collateral Recovery Inc                              12 Rutherford Rd South                                     Brampton          ON               L6W 3J1           Canada
Passtime                                                    100 - 5118 North Fraser Way                                Burnaby           BC               V5J 0H1           Canada
Phone Experts                                               4700 - 60th Street                                         Red Deer          AB               T4N 7C7           Canada
Precision Paralegal Services Inc                            150 - 9th Ave SW                                           Calgary           AB               T2P 3H9           Canada
Precision Paralegal Services LLP                            14 - 1860 Appleby Line, Suite 122                          Burlington        ON               L7L 7H7           Canada
Ranksy                                                      10 W Broadway 7th Floor                                    Salt Lake City    UT               84101             Canada
Satinwood Coffee Company                                    RR2, Site 3, Box 7                                         Lacombe           AB               T4L 2N2           Canada
Shaw Cablesystems GP                                        Shaw Cablesystems GP                                       Calgary           AB               T2P 4Y2           Canada
Solutions by Text                                           15110 Dallas Parkway Suite 500                             Dallas            TX               75248             United States
Stockwatch                                                  PO Box 10371, Pacific Centre                               Vancouver         BC               V7Y 1J6           Canada
Tecnoprism Private Limited                                  12th Floor, Office #1201, Vihav Supremus, NR Amin, Gotri M Vadodara          Gujarat          390021            India
Tiny URL LLC                                                3916 N Potsdam Ave Ste 4535                                Sioux Fallas      SD               57104             United States
Trans Union of Canada Inc.                                  PO Box 15613 Station A                                     Toronto           ON               M5W 1C1           Canada
CBIZ, Inc.                                                  1001 Conshohocken State Road, Suite 1-406                  West Conshohocken PA               19428-2906        United States
Priority Capital                                            174 Green St                                               Melrose           MA               02176             United States
Newfoundland & Labrador - Provincial Registration           100 New Gower Street, Cabot Place, Suite 1100              St. John's        NL               A1C 5V3           Canada
Prince Edward Island - Provincial Registration              65 Grafton Street, P.O Box 2140                            Charlottetown     PEI              C1A 8B9           Canada
Nova Scotia - Registry of Joint Stock Companies             PO Box 1529                                                Halifax           NS               B3J 2Y4           Canada
New Brunswick - Corporate Registry, Service New Brunswick   PO Box 1998                                                Fredericton       NB               E3B 5G4           Canada
Alberta Government - Director of Fair Trade                 Commerce Place, 10155-102 Street NW, 3rd floor             Edmonton          AB               T5J 4L4           Canada
British Columbia - BC Registry Services                     PO Box 9431 - Stn prov Govt.                               Victoria          BC               V8W 9V3           Canada
Canada Revenue Agency                                       Tax Centre, 275 Pope Rd. Suite 103                         Summerside        PEI              C1N 6A2           Canada
Revenue Quebec                                              3800, rue de Marly                                         Quebec            QC               G1X 4A5           Canada
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Name                                                                 Address                                                     City                Province/State   Postal/Zip Code   Country
Alberta Securities Commission                                        Suite 600, 250–5th St. SW                                   Calgary             AB               T2P 0R4           Canada
British Columbia Securities Commission                               P.O. Box 10142, Pacific Centre, 701 West Georgia Street     Vancouver           BC               V7Y 1L2           Canada
Manitoba Securities Commission                                       500 - 400 St. Mary Avenue                                   Winnipeg            MB               R3C 4K5           Canada
Financial and Consumer Services Commission of New Brunswick / Com Suite 300, 85 Charlotte Street                                 Saint John          NB               E2L 2J2           Canada
Superintendent of Securities, Service NL, Government of Newfoundlan P.O. Box 8700, 2nd Floor, West Block Confederation BuildingSt. John's            NL               A1B 4J6           Canada
Nova Scotia Securities Commission                                    Suite 400, 5251 Duke Street                                 Halifax             NS               B3J 1P3           Canada
Ontario Securities Commission                                        22nd Floor, 20 Queen Street West                            Toronto             ON               M5H 3S8           Canada
Prince Edward Island - Securities Office Department of Community AffaPO Box 2000                                                 Charlottetown       PEI              C1A 7N8           Canada
Autorité des marchés financiers                                      800, square Victoria, 22e étage C.P. 246, tour de la Bourse Montreal            QC               H4Z 1G3           Canada
Financial and Consumer Affairs Authority of Saskatchewan             Suite 601, 1919 Saskatchewan Drive                          Regina              SK               S4P 4H2           Canada
City of Wrangell                                                     P.O. Box 531                                                Wrangell            AK               99929             United States
Montgomery County Commission                                         Tax & Audit Department, P.O. Box 4779                       Montgomery          AL               36103             United States
Salt River Pima-Maricopa Indian Cmnty                                10005 East Osborn Rd.                                       Scottsdale          AZ               85256             United States
Cascade City Clerk                                                   P.O. Box 649                                                Cascade             ID               83611             United States
North Carolina Department of Revenue                                 P.O. Box 25000                                              Raleigh             NC               27640             United States
CITY OF ABERDEEN                                                     FINANCE DEPARTMENT, 200 E. Market Street                    Aberdeen            WA               98520             United States
City of Bainbridge Island                                            PO Box 94304                                                Bainbridge Island   WA               98124             United States
City of Burien                                                       400 SW 152 St, Suite 300                                    Burien              WA               98166             United States
CITY OF HOQUIAM                                                      FINANCE DEPARTMENT, 609 8TH STREET                          HOQUIAM             WA               98550             United States
City of Issaquah                                                     Finance Department, P.O. Box 1307                           Issaquah            WA               98027             United States
City of Kelso                                                        PO Box 819, 203 South Pacific, Suite 102                    Kelso               WA               98626             United States
City of Lacey                                                        420 College Street SE                                       Lacey               WA               98503             United States
City of Longview                                                     PO Box 128, 1525 Broadway                                   Longview            WA               98632             United States
CITY OF MERCER ISLAND                                                9611 SE 36th Street                                         Mercer Island       WA               98040             United States
City Treasurer                                                       PO Box 2009                                                 Olympia             WA               98507             United States
City of Roy                                                          PO Box 700                                                  Roy                 WA               98580             United States
City of Shelton                                                      525 W. Cota St.                                             Shelton             WA               98584             United States
The City Treasurer                                                   PO Drawer 9                                                 South Bend          WA               98586             United States
CITY OF SNOQUALMIE                                                   PO BOX 987                                                  SNOQUALMIE          WA               98065             United States
City of Barboursville                                                P.O. Box 266                                                Barboursville       WA               25504             United States
City of Charleston                                                   City Collectors Office, P.O. Box 7786                       Charleston          WV               25356             United States
City of Kenova                                                       P.O. Box 268                                                Kenova              WV               25530             United States
Tax Department                                                       232 N. Queen Street                                         Martinsburg         WV               25402             United States
Finance Department                                                   389 Spruce Street                                           Morgantown          WV               26505             United States
City of Parkersburg                                                  P.O. Box 1627                                               Parkersburg         WV               26102             United States
City of Philippi                                                     P.O. Box 460                                                Philippi            WV               26416             United States
City of Summersville                                                 P.O. Box 525                                                Summersville        WV               26651             United States
Town Recorder                                                        P.O. Box 7                                                  Wardensville        WV               26851             United States
Canada Revenue Agency                                                PO Box 20000, Station A                                     Sudbury             ON               P3A 5C1           Canada
OSB - CCAA Team                                                      235 Queen Street                                            Ottawa              ON               K1A 0H5           Canada
Varde Partners                                                       520 Madison Ave, 34th Floor                                 New York            NY               10022             United States
Castlelake L.P.                                                      65 East 55th Street 28th Floor                              New York            NY               10022             United States
Bancorp                                                              409 Silverside Road, Suite 105                              Wilmington          DE               19809             United States
Wafra Inc                                                            345 Park Ave                                                New York            NY               10154             United States
Canadian Asset-Backed Credit Fund LP                                 1133 Yonge Street, Suite 603                                Toronto             ON               M4T 2Y7           Canada
Herscu, Larry                                                        1 Clarendon Drive                                           Richmond Hill       ON               L4B 2V1           Canada
Hinolan, Danielle                                                    2737 Collins Crescent SW                                    Edmonton            AB               T6W 3X4           Canada
Malenica, John                                                       5148 Hastings St E                                          Burnaby             BC               V5B 1P6           Canada
Negi, Ruchi                                                          135 Gold Park Gate,                                         Angus               ON               L0M 1B4           Canada
Parker, Rosemary                                                     31096 Elbow River Drive                                     Calgary             AB               T3Z 2T8           Canada
Popovich, Nicole                                                     710-1888 Bayview Avenue                                     Toronto             ON               M4G 0A7           Canada
Roter, Dominic                                                       507-900 Glen Street                                         Oshawa              ON               L1J 5Z5           Canada
Baic, Jennifer                                                       217-172 Argyle Street North                                 Caledonia           ON               N3W 2J7           Canada
Hibbert, Angelique                                                   63 Borrelli Drive                                           Brampton            ON               L6Y 5X1           Canada
Hoo Sang, Taneca                                                     139 Adventura Rd                                            Brampton            ON               L7A 5A7           Canada
Kuin, Stephanie                                                      145 Hillcrest Avenue SW                                     Airdrie             AB               T4B 4C8           Canada
Lechniak, Darren                                                     2188 King Street East                                       Hamilton            ON               L8K 1W6           Canada
Mifflin, Alexia                                                      637 Coventry Drive N.E.                                     Calgary             AB               T3K 4X9           Canada
Opalinski, Ewa                                                       116 Kenilworth Avenue                                       Toronto             ON               M4L 3S6           Canada
Siydock, Laura                                                       125 Larocque Road                                           North Bay           ON               P1B 8G3           Canada
Xu, Xin                                                              120 Song Meadoway                                           Toronto             ON               M2H 2T7           Canada
Kassella, Sherry                                                     47 Batson Drive                                             Aurora              ON               M3W 2J7           Canada
Rajchel, Tobias                                                      78 Rumsey Road Maple                                        Maple               ON               L6A 4L8           Canada
Lewis, Matthew                                                       2464 Secreto Drive                                          Oshawa              ON               L1L 0H6           Canada
Pupulin, Heather                                                     3257 Stocksbridge Ave.                                      Oakville            ON               L6M 0E3           Canada
Blumenthal, Myles                                                    83 Redpath Unit 1705                                        Toronto             ON               M4S 0A2           Canada
Hodgeson, David                                                      40-260 Royalton Common                                      Oakville            ON               L6H 0N2           Canada
Marr, Ryan                                                           15 Marlee Ave.                                              Toronto             ON               M6E 3B1           Canada
Wallbank, Chris                                                      58 Leuty Ave.                                               Toronto             ON               M4E 2R4           Canada
Godson, Caroline                                                     8663 Eramosa Garafraxa Townline                             Belwood             ON               N0B 1J0           Canada
Srikaran, Kagesan                                                    10 Mystical Road                                            Brampton            ON               L7A 2S4           Canada
Hambly, Amy                                                          48 Preston St.                                              Scarborough         ON               M1N 3N1           Canada
Sun, Aiwei (Ivy)                                                     127 Connaught Ave.                                          York                ON               M2M 1H1           Canada
Galle, Nicholas                                                      1479 Rogerswood Court                                       Mississauga         ON               L5J 1R7           Canada
Bass, Marlon                                                         361 Howland Ave.                                            Toronto             ON               M5R 3C1           Canada
Opalinski, Eva                                                       116 Kenilworth                                              Toronto             ON               M4L 3S6           Canada
 Amy Aubin                                                            2256 Yates Court                                           Oakville            ON               L6L 5K6           Canada
 Alexander Mitchell                                                   102 Bessborough Drive                                      Toronto             ON               M4G 3J1           Canada
 Chris Nunes                                                          62 Bramble Crescent                                        Stouffville         ON               L4A 7Y5           Canada
 William O'Hara                                                       6 Drummond Street                                          Etobicoke           ON               M8V 1Y8           Canada
 Christopher Torokvei                                                 55 Scollard Street                                         Toronto             ON               M5R 0A1           Canada
Knight, Leon                                                         74 Waverly Road                                             Toronto             ON               M4L 3T1           Canada
 Lucas Atkinson                                                       4066 Applevalley Lane                                      Burlington          ON               L7L 1E7           Canada
 Michael Lindblad                                                    31 Dalebrooke Crescent                                      Whitby              ON               L1P 1P2           Canada
 Samuel Solomon                                                       180 University Ave Unit 1907                               Toronto             ON               M5H 0A2           Canada
 Dianna Price                                                         1 Balmoral Ave. Apt 715                                    Toronto             ON               M4V 3B9           Canada
Sonshine, Edward                                                     68 Yorkville Ave. PH90                                      Toronto             ON               M5R 3V7           Canada
Davloor, Raghunath                                                   375 Rouge Hill Crt.                                         Pickering           ON               L1V 6L5           Canada
Barbaro, Catherine                                                   5 Ivor Road                                                 Toronto             ON               M4N 2H3           Canada
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Name                                             Address                                City        Province/State   Postal/Zip Code   Country
Steiner, Fred                                    2 Chedington Place Suite 5C            Toronto     ON               M4N 3R5           Canada
Rob Day
Fields, Jeff                                     71 Laight St.                          New York    NY               10013             United States
Daniel Wittlin
Nicole Abreu
Lance Albanese
Tracy Bailey
Katrina Bearden
Kyle Beckel
Michelle Bejarano
Ashley Bradshaw
Vickie Briceno
Ethan Brown
Samantha Bullock
Karlee Carlock
Amarilys Castro DeLozier
Sarai Chavez
Micah Clair
Angela Cochran
Alexander Cooper
Baileigh Crum
Trevor DeForge
Michael Dietz
Tammie Dopler
Shane Dreith
Aaron Drury
Aimee Escobedo
Janell Etzel
Stephen Everett
Kenny Fitzgerald
Aanston Frazier
Dawna Gabaldon
Karen Giron
Tiah Goit
Amanda Graham
Kyle Gunn
Ryan Heidelberg
Rebecca Henry
Kyle Hicks
Karen Johnson
Laquoia Johnson
Beverly Kniegge
Jentry Krehbiel
Daniel Kropatsch
Joseph Maddox III
Rebecca Madsen
Tiffany Madsen
Christina Maurer
Katelyn McCoy
Tonya Mohr
Melissa Moore
Jamie Nanfito
Chantell Nava
Melody Owens
Elaine Phillips
Paul Phillips
Brian Plaster
Jake Porter
Brian Puron
Jason Reid
Blanca Rivas-Retana
Stephanie Rohner
Felicia Saenz
Sherri Sarconi
Jennifer Schmidt
Brian Schonfeld
Cherise Schuster
Shauna Scofield
Samantha Skraback
Gary Souverein
Krystal Stanford
Heather Sterling
Emery Swaim
Vincent Veltre
David Webster
Braiden Wells
Tonia Wooden
Wayne Woolley
David Zahner
Tammy Ziegler
All other current employees of the Debtors
All former employees of the Debtors since 2023
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


              In re:                                                     Chapter 15

              CHESSWOOD GROUP LIMITED, et al.,1                          Case No. 24- (___)

                          Debtors in a Foreign Proceeding.               (Joint Administration Requested)


                      CORPORATE OWNERSHIP STATEMENT PURSUANT TO
                FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(a)(4)(A) AND 7007.1

                          FTI Consulting Canada Inc. is the court-appointed monitor and duly authorized

         foreign representative (the “Petitioner”), as defined by section 101(24) of title 11 of the United

         States Code of the above-captioned debtors (the “Debtors”), which are the subject of jointly-

         administered proceedings under Canada’s Companies’ Creditors Arrangement Act, R.S.C. 1985,

         c. C-36 in the Ontario Superior Court of Justice, in Toronto, Ontario, Canada.

                          The Monitor hereby files this Corporate Ownership Statement pursuant to rules

         1007(a)(4)(A) and 7007.1 of the Federal Rules of Bankruptcy Procedure, and states that the

         following entities own 10% or more of any class of the equity interests of any of the Chesswood

         Debtors, as set forth below:

             Entity                                                         Equity Ownership

             Chesswood Group Limited (“Chesswood Limited”)                  Daniel Wittlin (16.42%)
                                                                            Ed Sonshine (10.05%)

             Chesswood Holdings Ltd. (“Chesswood Holdings”)                 Chesswood Limited (100%)


         1
          The last four digits of the United States Tax Identification Number, or similar foreign identification number, as
         applicable, follow in parentheses: Chesswood Group Limited (6730), Chesswood Holdings Ltd. (8445), Lease-Win
         Limited (2081), Case Funding Inc. (8049), 1000390232 Ontario Inc. (0232), Chesswood Capital Management Inc.
         (4785), Chesswood Capital Management USA Inc. (3582), Chesswood U.S. Acquisitionco Ltd. (4029), Pawnee
         Leasing Corporation (4533), Tandem Finance Inc. (1260), Windset Capital Corporation (4857), Rifco Inc. (7815), and
         Rifco National Auto Finance Corporation (1311). The Debtors’ executive headquarters is located at Chesswood
         Group Limited, 41 Scarsdale Road, Suite 5, Toronto, ON, M3B 2R2.
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             1000390232 Ontario Inc.                            Chesswood Limited (100%)
             Rifco Inc.                                         Chesswood Limited (100%)
             Chesswood U.S. Acquisition Co Ltd. (“Chesswood     Chesswood Holdings (100%)
             Acquisition”)
             Case Funding Inc.                                  Chesswood Holdings (100%)
             Lease-Win Limited                                  Chesswood Holdings (100%)
             Chesswood Capital Management Inc. (“Chesswood      Chesswood Holdings (100%)
             Management”)
             Chesswood Capital Management USA Inc.              Chesswood Management (100%)
             Pawnee Leasing Corporation                         Chesswood Acquisition (100%)
             Tandem Finance Inc.                                Chesswood Acquisition (100%)
             Windset Capital Corporation                        Chesswood Acquisition (100%)
             Rifco National Auto Finance Corporation            Rifco Inc. (100%)


             Dated: October 30, 2024             YOUNG CONAWAY STARGATT & TAYLOR,
                    Wilmington, Delaware         LLP

                                                 /s/ Kenneth J. Enos
                                                 Kenneth J. Enos (No. 4544)
                                                 Rodney Square
                                                 1000 North King Street
                                                 Wilmington, Delaware 19801
                                                 Telephone: (302) 571-6600
                                                 Facsimile: (302) 571-1253
                                                             kenos@ycst.com

                                                 -and-

                                                 ALSTON & BIRD LLP
                                                 Stephen M. Blank (pro hac vice admission pending)
                                                 William Hao (pro hac vice admission pending)
                                                 Dylan Cassidy (pro hac admission pending)
                                                 90 Park Avenue
                                                 New York, New York 10016
                                                 Tel: (212) 210-9400
                                                 Fax: (212) 210-9444
                                                 Email: stephen.blank@alston.com
                                                         William.hao@alston.com
                                                         Dylan.cassidy@alston.com

                                                 Counsel for the Petitioner




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Fill in this information to identify the case:

Debtor name         Rifco National Auto Finance Corporation

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       1007(a)(4) Statement and Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       10/30/2024                      X Jeffrey Rosenberg
                                                           Signature of individual signing on behalf of debtor

                                                            Jeffrey Rosenberg
                                                            Printed name

                                                             Foreign Representative
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
